IfcF,H ,n fn,s ,^or. at, onto ,dent, fyyo.,.case:                                                                                                               FIUrDUSBG CLRK^PHM
                                                   '^. ^-                                                                                                        2019         R5PH3:5E
      Debtor1           TODDRANDOLPHRILEY
                        HnstName                        MiddeName                      Last Name

      oebtor2           DETRAGENNINGRILEY
      (SpOUSe, ItSng)   RretName                        tliddfcNtim                    bntN.   me




      United States Bankruptcy Court for .           strict of Arizona

      Casenumber                                               11 (U U £. i,                                                                                            Q Checkifthis ISan
                        oT                            -^-r^T ^.                                                                                                          "amendedfiling'

    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                       12/15
    Beas complete andaccurate as possible. Iftwo married people arefiling together, both are equally responsible forsupplying correct
    information.Filloutaltofyourschedulesfirst;thencompletetheinformationonthisform. Ifyouarefilingamendedschedulesafteryoufile
    your original forms, you must fill out a new Summary and check the box at the top of this page.

    P a rt 1     Summartze Your Asaets


                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own
    1 - Schedufe A/B: Property (Official Form 106A/B)
       la Copyline55,Totalrealestate,fromScAeduteAS................................................................................                                   $              0-00

       ib. Copy line62, Total personal property, from Schedule AB............................................................................................         $         2, 500. 00

       1c Copy line S3, Total of all property on ScheduleAS



    Part 2:      Summarize Your Liabilities



                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe
    2. Schedule D: Creditors Who Haw Cfeons Secured by Pmpeity (Ofiicial Form 106D)
       2a.CopythetotalyoulistedinColumnA, Amount o/claim, atthe bottom ofthelastpageofPart 1 ofSchedule D............                                                $          7,000. 00
    3. S<^e<&deE/F:CrBdaorsWhoHaveUnsecwsdClaims(Offma\ FormtOGEtF)
       3a Copythetotal claims from Part 1 (priority unsecured damns) from line 6eof Schedule©F............................................                           $          '
       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.
                                                                                                                                                                  + 5        o51 ,^5^Z.I


                                                                                                                                    Yourtotal liabilities            $       48,299. 00

   Part 3:      Summarize Your Income and Expenses

   4 Schedsdel: Yowlncome (Official Form 1061)
      CopyyourcombinedmonthlyincomefromIme12ofScftedufe;...................................................................... ....                                  $          3,921.00
   5. Schedule J: your EKpenses (Official Form 106J)
      Copy yourmonthly expenses from line22c of Schedule J...................................................................................................       $         4,216. 00




   Official Form 106Sum                             Summary of Your Assets and Liabilitiesand Certain Statistical Information                                              page 1 of 2


          Case 2:19-bk-04021-MCW                                      Doc 12 Filed 04/05/19 Entered 04/08/19 09:52:40                                                        Desc
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     Debtori      TODDRANDOLPHRILEY                                                                  Case number»kawm



     Pa rt 4:    Answer These Questions for Administrative and Statistical Records

     6. Are you filingfor bankruptcy underChapters7, 11, or 13?

        Q No.Youhavenothir^ toreportonthispartofthefonn. Checkthisboxandsubrrutthisfbmitothecourtwithyourotherschedules.
        53 Yes

     7. What kind of debt do you haw?

            Your debts are primarily consumer debts. Consumer cfefrfearethose "incurred byanindividual primarily fora pereonal,
            family,orhouseholdpurpose.-11 U.S.C.§ 101(8). FBIoutlines8-9gforstatisticalpurposes.28U.S.C. § 159.
        Q Yourdebtsarenotprimarily consumerdebts.Youhavenothingtoreportonthispartofthefonn. Checkthisboxandsubmit
            this form to the court with your other schedutes.



    8- From the Statwnent of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            4,500.00




    9 Copy the following special categories of claims from Part 4, line 6 of Schedule EfP.


                                                                                                          Total claim


         From Part4 on ScheduleE/F, copy thefollowing:


       9a. Domesticsupportobligations(Copy line 6a.)                                                      $             9, 977. 00


       9b. Taxes and certain other debts you owe the government. (Copy tine 6t>.)                         $                  0.00

       9c. Claimsfordeathor personalinjurywhiteyou wereintoxicated. (Copyline 6c.)                        s                 0. 00


       9d. Studentloans- (Copyline6f.)                                                                    $         10,451.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as        $                 0.00
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, ami other simitar debts. (Copy line 6h.)             $                 0.00


       9g. Total. Addlines9athrough9f.                                                                              20,428.00




Oflicial Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2 of 2



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 Fi". in t";5 .infoimaiian ro ideniify /our case and this filing:


 Dettor1            TODD RANDOLPH RILEY
                      Fust Name                      MkfdeName

 Deyor2               DETRA GENNING RILEY
 (Spouse. ffflBng) RntNme                            Mid*Name

 United States Bankruptcy Courtforthe: District of Arizona

 Case number
                                                                                                                                                 Q Check ifthis is an
                                                                                                                                                    amendedfiling

 Official Form 106A/B

                                                                                                                                                                12/15
 Ineachcategory, separately listand describe items. Listanasset only once. Ifan asset Fits in more than one category, list theasset inthe
 category^whereyouftinkit Fitsbest Beascompleteandaccurateaspossible,fftwomarriedpeoplearefilingtogether,bothareequally
 responsibleforsupplyingcorrectinformation.Ifmorespaceisneeded,attacha separatesheettothisform.Onthetop ofanyadditionalpages,
 write your name and case number (if known). Answer every question.

D-, ,^ ^ .     Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Infnst In

1. Doyouownor haveany legalor equitableinterestin anyresidence,building,land, or similarproperty?
    S3 No.Goto Part2.
    Q Yes.Whereistheproperty?
                                                                      What is the property? Check all that apply
                                                                                                                         Donot deductsecuredclaimsorexemptions. Put
                                                                      Q Singte-family home                              the amount of any secured claims on Scfteatjte D;
     1. 1-                                                                                                              CredtorsWhoHaveClaimsSecuredbyPmperiy.
              Streetaddress, ifavailable,orotherdescription
                                                                      Q DuplexormuIS-unftbuikling
                                                                      Q Condominium orcooperative                       Current value of the Current value of the
                                                                      d Manufactured or mobile home                     entire property?     portion you own?
                                                                      Q Land                                            $                          $_
                                                                      Q Investmentproperty
                                                                      Q Timeshare                                       Describethe natureofyour ownership
             Oty                              State       ZIPCode
                                                                      a Other                                           interest (such as fee simple, tenancy by
                                                                                                                        the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      Q Debtor1 only
             County                                                   1-1Debtor2 only
                                                                      Q Debtor 1 andDebtor? only                        Q Checkifthisiscommunityproperty
                                                                      Q At least one ofthe debtors andanother               (see instructions)

                                                                     Other information you wishto add about this item, such as local
                                                                     property identificationnumber:
   If you own or have more than one, list here:
                                                                    What is the property? Check all that apply-
                                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                    Q Singte-family home                                the amount of any secured claims on Schadula D:
    1.Z                                                                                                                 Crecttofs Who Have Claims SectsecS by Pnpertf.
             Street address, if available, or other description
                                                                    Q Duptexormutti-unit buikling
                                                                    Q Condommiumorcooperative                           Current value of the Current value of the
                                                                    Q Manufacturedormobilehome                          entire property?     portion you own?
                                                                    Q Land
                                                                    Q Investment property
                                                                    Q Timeshare                                         Describethe natureofyourownership
             City                            State       ZIPCode                                                        interest(suchas feesimple, tenancy by
                                                                    Q Other
                                                                                                                        the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    Q Debtor1 only
             County                                                 Q Debtor2 only
                                                                    Q Debtor1 andDebtor2 only                           Q Checkifthisiscommunityproperty
                                                                    Q Atteastoneofthedebtorsandanother                      (see instructions)

                                                                    Other information youwishto add about this item, such as local
                                                                    property identificationnumber:


Official Form 106A/B                                                 Schedule A/B: Property                                                              page 1


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  Debtor 1            TODD RANDOLPH RILEY                                                                Case number (irtmxm)
                                      Middle Name




                                                                      Whatis the property? CheckaHthatapply.                 Do notdeductsecuredclaimsorexemptions. Put
       1.3.                                                           Q Singfe-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                             Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description     Q DuplexormulB-unBbuikting
                                                                          Condominiumor cooperative                          Current value of the Current value of the
                                                                      Q Manufactured or mobile home                          entire property?     portion you own?
                                                                      a Land                                                 $               $
                                                                      Q Investment property
               City                             State     ZIP Cods    Q Timeshare                                            Describe the nature of your ownership
                                                                      Q Other                                                interest (such as feesimple, tenancyby
                                                                                                                             the entireties, or a life estate), if known.
                                                                      Whohasan interest in the property? Checkone.
                                                                      Q Debtor1 only
               County
                                                                      Q Debtor2 only
                                                                      Q Debtor1 andDebtor2 only                              Q Checkifthisiscommunity property
                                                                      Q Atleastoneofthedebtorsandanother                        (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:



2 AddthedollarvalueoftheportionyouownforallofyourentriesfromPart1, inchidinganyentriesforpages                                                                         0.00
    you haveattachedfor Part 1. Writethat number here.




Pa rt 2;        Describe Your Vehicles



Doyouown, tease, orhavelegalorequitable interest inanyvehicles, whethertheyareregistered ornot?Includeanyvehicles
youownthatsomeone else drives. Ifyou teasea vehicle, also report it on Scteeftrfe G: Executory Contracts andUnexpirsd Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   a No
   ayes

   31 Make:                                FORD                      Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
      Model:                               EDGE                      Q Debtor1 only                                      the amount of any secured claims on Sc/iedUte D:
                                                                                                                          &edfe»s Who Have Clams Securecf by PKipeity.
              Year:                        2010                      Q Debtor2 only
                                                                     (3 Debtor1 andDebtor2 only                          Current value of the        Current value of the
              Approximate mileage:                                   Q At leastoneofthedebtorsandanother                 entire property?            portion you own?
              Other information:
                                                                     Q Checkifthisiscommunityproperty(see                            4, 000.00                       0.00
                                                                        instructions)



   If you own or have more than one, describe here:

   3. 2.      Make:                                                  Whohasan interest in the property? Checkone.        Donotdeductsecuredclaims orexemptions. Put
                                                                     Q Debtor1 only                                      the amount of any secured claims on Schedule D:
             Model:
                                                                                                                         CrecSfors Who Have Claims Secured by Pioparty.
                                                                     Q Debtor2 only
           Year:
                                                                     Q Debtor1 andDebtor2 only                           Current value of the        Current value of the
           Approximate mileage;                                      Q Atleastoneofthedebtorsandanother                  entireproperty?             portion you own?
           Other information:
                                                                     Q Checkifthis is community property (see            $

                                                                       instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2


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  Debtor1            TODDRANDOLPHRILEY                                                                             Case number viiaawa
                                   Middle Name




     3.3.     Mate:                                                   Whohasan interest in theproperty? Checkone-                      Do not deduct secured claims orexemptions. Put
                                                                      U Debtor1 only                                                   the amount of any secured claims on Schedufe D:
              Model:                                                                                                                   Creditors WhoHaveClaimsSecuredbyPioperty
                                                                      Q Debtor2 only
              Year:
                                                                      t-1 Debtorland Debtor2 only                                      Current value of the      Current value of the
              Approximate mileage:                                    Q Atleastoneofthedsbtoisandanother                               entire property?          portion youown?
              Other information:
                                                                      Q Checkifthisiscommunityproperty(see
                                                                          instructrons)


     3. 4.    Make:                                                  Who has an interest in the property? Cheek one                    Donotdeductsecuredclaimsor exemptions. Put
                                                                     Q Debtor1 only                                                   the amount of any secured claims on Schedule D:
              Model:                                                                                                                   CmaSfcrsWhoHaveClaimsSecurecfbyPrDparty.
              Year
                                                                     Q Debtor2 only
                                                                     Q Debtor1 andDebtor2 only                                        Current value of the      Current value of the
              Approximate mileage:                                   Q Atleastoneofthedebtorsandanother                               entire property?          portion you own?
              Other informah'arr
                                                                     QCheckifthisiscommunityproperty(see
                                                                         instructions)




4 Watercraft, aircraft, motor homes. ATVs and other recreational vehicles, other vehicles, and accessories
   Examples:Boats,trailers, motors, personalwatercraft,fishingvessels,snowmobiles,motorcycleaccessories
   el No
   a Yes

    4. 1.    Make:                                                  Whohasan interest in the property? Checkone.                      Donotdeductsecuredclaimsorexemptions. Put
                                                                    Q Debtor1 only                                                    the amount cf any secured claims on Scheobfe D:
             Model:                                                                                                                   CrscStcss Who Have Claims Secured by Pmpwty.
             Year
                                                                    Q Debtor2 only
                                                                    Q Debtor1 andDebtor2 only                                         Current vahie of the      Current value of the
             Other Information:
                                                                    Q Atleastoneofthedebtorsandanother                                entire property?          portion you own?

                                                                    Q CheckWthisiscommunityproperty(see


   Ifyou own or have morethan one, list here:

   4. 2      Make:                                                  Whohasan niterest in the property?Check one.
                                                                                                            i                        Donot deductsecuredclaimsorexempifons.Put
                                                                    Q Debtor 1 only                                                  the amount of any secured claims on Schedkite D;
             Model:                                                                                                                  Credtors Who Have Claims Secured by Pmperty.
             Year:
                                                                    Q Debtor2 only
                                                                    Q Debtor1 andDebtor2 only                                        Current value of the      Current value of the
             Other information:                                                                                                      entire property?          portion you own?
                                                                    Q Atteastoneofthedebtorsandanother

                                                                    Q Checkifthisiscommunityproperty(see
                                                                        instructions)




  AddthedollarvalueoftheportionyouownforallofyourentriesfromPart2, inchidinganyentriesforpages                                                                                 0. 00
  you have attached for Part 2. Write that number here ......................................... .............................................. ........>




Official Form 106A/B                                                ScheduleA/B: Property                                                                             page 3


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     Debtor 1     TODD RANDOLPH RILEY                                                               Case number whmnti




 Part 3:        Describe Tour Personal and Household Items

                                                                                                                             Current value of the
 Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured claims
                                                                                                                             or exemptions.
 6     Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
       UNO
       a Yes.Describe......... MISC FURNITURE                                                                                                   400.00

 7     Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devrees inctuding cell phones, cameras, media players, games
       a No
       B Yes.Describe.......... TV-DVD-COMPUTER                                                                                                400. 00
 8. Collectibles of value

       ExamplesrAntiquesandfigurines;paintmgs,prints,orotherartwork;books,putures, orotherartobjects;
                  stamp, coin, or baseball card collections; othercoiiections, memorabilia, collectibles
       a No
       Q Yes. Describe.

9. Equipmentfor sports andhobbies
   Examples: Sports, photographk;, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musfcal instruments
      a No
      Q Yes. Describe.

10. Firearms

      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      a No
      Q Yes. Describe.

11.Clothes
      Examples:Everydayclothes, furs. leathercoats, designerwear,shoes, accessories
      a No
      a Yes.Describe.......... EVERYDAYCLOTHING                                                                                               400.00

12.Jewelry
      Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                 gold, silver
      a No
      a Yes.Describe...........WEDD|NGRINGSANDEVERYDAYJEWERY                                                                                  400. 00
13 Non-farm animals
     Exainples: Dogs, cats, birds, horses
     a No
     Q Yes. Describe.

14 Any otherpersonalandhouseholditems youdidnotalready1st, includinganyhealthaidsyoudidnotlist
     a No
     Q Yes. Give specific
         information.


15. Addthedollarvalueofall ofyourentries from Part3, includinganyentriesforpagesyou haveattached                                           1 600. 00
     for Part 3. Write that number here



Official Form 106A/B                                         Schedule A/B: Property


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  Debtor 1         TODD RANDOLPH RILEY                                                                Case number (irtnown




 Part 4:        Describe Your Financial Assets


 Do you own or have any legal or equitable interest in any ofthe following?                                                                       Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                  orexempttons.

 16 Cash
    Examples: Moneyyou haveinyourwallet, in your home, in a safedeposit box, andon handwhenyou fiteyour petition
    a No
    a Yes
                                                                                                                    Cash: ....................... $



 17.Deposits of money
    Examples:Checking,savings,m otherfinancialaccounts;certificatesofdeposit;sharesincreditunions,brokeragehouses,
                   and other similar instftutions. Ifyou have multiple accounts with the same Institution, list each.
    a No
    B Yes.                                                               Institution name:


                                       17. t. Checking account           META BANK                                                                    $           200. 00
                                       17. 2. Checking account                                                                                        $

                                       17.3. Savingsaccount:             WELLSFARGO                                                                  $                0.00
                                       47.4- Savingsaccount
                                                                                                                                                     $
                                       17.5 Certificates of deposit:                                                                                 $
                                      176 Other financial account:
                                                                                                                                                  $

                                      177 Other financial account
                                                                                                                                                  $

                                      17.8. Otherfinancial account:
                                                                                                                                                  $
                                      179. Other financial account:
                                                                                                                                                  $




18-Bonds, mutual funds, or publicly (ratted stocks
   Examples:Bondfunds,investmentaccountswithbrokeragefirms, moneymarketaccounts
   Zl No
   Q Yes.................             Institution orissuer name:

                                                                                                                                                 $

                                                                                                                                                 $

                                                                                                                                                 $




19. Non-publicly traded stock and interests in incorporated andunincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   0 No                               Nameofentity:                                                                %<rfownership:
   Q Yes. Owespecific                                                                                              Q%
      informationabout                                                                                  %
      them.........................                                                                                0% ^                          $
                                                                                                                   0% "                          $




Official Form 106A/B                                                   ScheduleA/B: Property                                                                 pages



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  Debtor1     TODDRANDOLPHRILEY                                                                 Case number (»known)




 20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Atesfofiafifeffisfrumenfe include personal checl®,cashiers' checks, promissoiy notes, and money orders.
     Non-negoSable instewnents are those you cannot transfer to someone by signing ordelivering them.

    iZi No
    Q Yes. G'wespecific       Issuer name;
       information about
       them.




 21- Retirement or pension accounts
    Examples: Interests in IRA. ERISA, Keogh, 401(k), 403(b), thriftsavings accounts, orotherpensfon or profit-sharing plans
    el No
    Q Yes. List each
       accountseparately. Type ofaccount:              Insfitutron name:

                             401(k) or similar plan:                                                                               $

                             Pensionplan:                                                                                          $

                             IRA:                                                                                                  $

                             Retirement account                                                                                    $

                             Keogh:                                                                                                $

                             Additkmal account:

                             Additional account




22 Security deposits and prepayments
   Yourshareofall unused deposits you have made sothatyou maycontinue service oruse froma company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunicatmns
   companies, or others

   a No
   0 Yes                                          Institutfon name or individual:
                             Etectric:
                                                                                                                               $
                             Gas-
                                                                                                                               $
                            Heatingoil:
                                                                                                                               $
                            Securitydepositonrentalunit: LANDLORD                                                                             700. 00
                                                                                                                               $
                            Prepaid rent:
                                                                                                                               $
                            Telephone:
                                                                                                                               $
                            Water:
                                                                                                                               $
                            Rented furniture:
                                                                                                                               $
                            Other:
                                                                                                                               $



23.Annuities(Acontractfora periodicpaymentofmoneyto you,eitherforlifeorfora numberofyears)
   0 No
   Q Yes... ....            Issuernameanddescription:
                                                                                                                               $

                                                                                                                               $




Official Form 106WB                                           Schedule A/B: Property



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  Debtor 1      TODD RANDOLPH RILEY                                                                  Case number a known}
                                  MiddleName




 24 Interests in an education IRA. in an account hi a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b). and52^b)(1).
     a No
     Q Yes
                                         Institution name anddescription. Separately fitethe records ofany interests. 11 U. S.C. § 521(c):

                                                                                                                                              $

                                                                                                                                              $

                                                                                                                                              $


 25-Tiusts, equitable or future interests in property (other thananything listed in line 1), and rights or powers
    exercisabtefor your benefit
    SZlNo
    Q Yes. Givespecific
        inibrmation about them


 26 Patents,copyrights, trademarks,tradesecrets, andotherintellectualproperty
    Examples:Internetdomainnames,websites,proceedsfromroyaltiesandlicensingagreements
    a No
    a Yes.Givespecific
       information aboutthem. .


 27 Licenses,franchises,and other general intangibles
    Exampley. Building permits, exclusive licenses, cooperatroe association holdings, liquorBcenses, professional licenses
    a No
    Q Yes. Givespecific
       information about them....


Money or property owed to you?
                                                                                                                                             Current value of (he
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             daims or exemptions.
28. Tax refunds owed to you
   B No
   Q Yes. Ghrespecifre information
                                                                                                                   Federal:            $
             aboutthem, includingwhether
             you already fifedthe returns                                                                          State:              $
             and the tax years.
                                                                                                                   Local;              $



29. Family support
   Examples:Pastdueorlumpsumalimony,spousalsupport,chihisupport,maintenance,divorcesettlement,propertysettlement
   a No
   Q Yes. Givespecific informatun .......
                                                                                                                  Alimony: $
                                                                                                                  Maintenance: $

                                                                                                                 Support: $
                                                                                                                 Divorce settlement: $
                                                                                                                 Property settlement: $

30. Other amounts someone owes you
   Exanytes:Unpaidwages, disatHlity insurancepayments, disabilitybenefits, sickpay, vacationpay, workers' compensation,
               Social Security benefits; unpaid toans you made to someone etee          ' '            ' '        - - -- -^---~.,
   a No
   Q Yes. Give specific information.



Offfcal Form 106A/B                                           ScheduleA/B: Property                                                                   page 7


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   Debtor 1      TODD RANDOLPH RILEY                                                                      Case number thrown)




  31. Interests in insurance policies
     Examples: Health, disabirrty, or Bfe insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     63 No
     Q Yes. Namethe insurance company                 Company name:                                         Beneficiaiy:                             Suirender or refund value:
               ofeach policyand list its value..
                                                                                                                                                     $

                                                                                                                                                     $

                                                                                                                                                     $

 32 Any interest in property that is due you from someone who has died
     Ifyou arethe beneficiaiy ofa living trust, expect proceeds froma life insurance policy, or arecurrently entitled to receive
     property becausesomeone has died.
     a No
     Q Yes. Give specjfre information.


 33. Claimsagainstthirdparties,whetherornotyou havefileda lawsuitormadea demandforpayment
    erampfes. - Accidents, emptoyment disputes, insurance claims, or rights to sue
     a No
     Q Yes. Describeeachclaim.

 34-Other contingent andunliquidated claims ofevery nature, including counterclaims ofthe debtor and rights
    to set off claims
    a No
    Q Yes.Describeeachclaim. .................



35.Any financial assets you did not already list
    a No
    Q Yes. Givespecificinformation


36.Addthedollarvalueofall ofyourentriesfrom Part4, includinganyentriesforpagesyouhaveattached
   forPart4. Writethatnumberhere -................................... "....,,.,..,.,,,.,,,.,,.,.,,,., ,,^                                                           900.00



Parf 5        Describ®Any Businoss-Rclated Profwrty You Own or Haw an Intorost In. Uat any real .state in Part 1.
37.Doyouownor haveanylegalorequitableinterest in anybusiness-retatedproperty?
   B No. Go to Part 6.
   L] Yes. Go to hne 38.

                                                                                                                                                 Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                 or exemptions
38.Accounts receivableor commissionsyoualready earned
   a No
   a Yes. Describe.......

39. Office equipment, furnishings, and supplies
   Examples; Business-related computers, software, modems, printers, copiers, faxmachines, rugs, telephones, desks, chairs, electronic devices
   a No
   Q Yes. Describe.......
                                                                                                                                                 $




Official Form 106A/B                                           Schedule A/B: Property                                                                         pages


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  Debtor1        TODDRANDOLPHRILEY                                                         Case number i.iknmin',
                 FiratName     MiddeN-ime




 40.Machinery, fixtures,equipment, suppliesyou use in business,andtools ofyour trade
    a No
    Q Yes. Describe -


 41. Inventory
    a No
    a Yes.Describe.....


 42. Interests in partnerships or joint ventures
    a No
    a Yes.Describe....... Nameofentity:                                                                      % of ownership;
                                                                                                                     *

                                                                                                                    _%
                                                                                                                     *



43 Customer lists, mailing lists, or other compilations
    a No
    Q Yes.Doyourlistsincludepersonallyidentifiableinformation(asdefinedin11U.S.C.§ 101(41A))?
             a No
             Q Yes. Describe........


44-Any business-related property you did not already list
    a No
    01 Yes. Givespecific
       information                                                                                                              $

                                                                                                                                $

                                                                                                                                $




                                                                                                                                $

                                                                                                                                $


45- Add the dollar value of all or your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here




Part 6:     Describe Any Farm- and Commercial FIshing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46.Doyouownor haveanylegalorequitableinterestin any(arm-or commercialfishing-relatedproperty?
   63 No.GotoPart7.
   Q Yes. Go to line 47.

                                                                                                                               Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured claims
                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   a No
   a Yes.




Official Form 106A/B                                     Schedule A/B: Property                                                             pages


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   Debtor1          TODD RANDOLPH RILEY                                                             Case number {iknmm)
                      HrstNamn          MlddteNair   LtstNan*




  4& Crops-either growing or harvested

     a No
     Q Yes. Givespeciffc
           information

 49.Farm andfishingequipment, implements, machinery, fbttures, and tools of trade
     a No
     a Yes.


 50. Farm and fishing supplies, chemicals, and feed
     a No
     a Yes..........................


 51 Any farm- and commercial fishing-related property you did not already list
     a No
    Q Yes. Givespecific
         information         --......


 52. Addthectottervalueofall ofyourentriesfrom Part6, includinganyentriesforpagesyouhaveattached
    for Part 6. Write that number here



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
    Examples:Seasonttotets, countrydubmembership
    0 No
    Q Yes. Give specific                                                                                                                $
         information.
                                                                                                                                        $

                                                                                                                                        $



54 Add the dollar value of all of your entries from Part 7. Wfrite (hat number here



Part 8:         Ust the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.                                                                                       .
                                                                                                                                 » $               0. 00

56. Part 2: Total vehicles. line S                                           $              0. 00

57. Part 3: Total personal and household items, tine 15                      $          1,600. 00

58.Part 4: Total financialassets, line 36                                    $           900. 00

59. Part 5: Total business-related property, line 45                         $              0.00

60.Part6: Total farm-and fishing-fetatedproperty, line 52                   $               0.00

61. Part 7: Total other property not listed, line 54                      +$                0.00

62.Total personal property. Add lines56through 61.                                      2,500.00                                              2, 500.00
                                                                                                    Copy personal property total ^ +$


63 Total of all property on ScheduleA/B. Add line 55 + line 62..                                                                             2,500.00


Official Form 106A/B                                            ScheduleA/B: Property                                                        page 10



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        Fill in this information to identify you; case.

        Debtor1         TODDRANDOLPHRILEY
                        RistNimc                MMiieName
        Debtor2          DETRAGENNINGRILEY
        ISfOtSa,Sfiling) Fusttome               MddhNam.

        UniiedStatesBankruptcyCourtforthe:District ofArizona
        Casenumber
        flf known)                                                                                                                                  Qcheckifftisisan
                                                                                                                                                        amendedfiling

   Official Fomn 106C

                                                                                                                                                                    04/16
   B!, ^^mle^nd. a.TOUrateasp°ssible: l!hwomam^peopleare                       filingltosether-   b°th are equally responsible for
                                                                                                                                   supplying correct infonnation.
  su^^n^Si ;^ao^T^^o^^r^mL1 ^B^^^^
  ^Tn:rn^^ra (^r^asranywp-of^&^^/p^asne-^^to-^^^^^
  ^?2^QLt":opertyyouctaiT. astec!mpt-youmustspecifytheamountofthe^emptionyouclaim.Onewayofdoingsofetostate a
  ^c^^ow^m^Mtem^^um7y^^^^^
  la^"^te stetut^y. !LTio exemptions-such  me
                                                            aids- ^Ms  ^ive'certarn beSTnd^x^^pT
                                                                        as   those for health                  to

  S;^^^^L^m. ;t^nud^r^ount. H^^^^^^
                                                                                                                                              your exemption
  would be limited to theapplicable statutory amount

    Part 1: Identifythe PropertyYouClaimas Exempt

   1.
         Whichsetofexemptionsareyouclaiming?Checkoneonly,evenifyourspouseisfSingwithyou.
                                                                 'exempttons. 11 U.S.C. § 522(b)(3)
              Youareclaimingfederalexemptions. 11 U.S.C.§ S22(b)(2)

   2. Foranyproperty youlistonScheduleASthatyouclaimasexempt, fill intheinformation below.

          ^e:»^ero^dtineon                                   St ^the                    Amount°^-P*-°"yo«^                           Spec.ficl^^allo. e^p^

                                                             Copythe vahiefrom          Checkonly one boxloreach exemption.
                                                             SctedufeAB

         Brief
         description:        clothing                        $400. 00                    0 $ 400. 00                                Ariz. Rev. Stat. Ann. § §
         Line from                                                                      Q 100%offairmarketvalue,upto                33-1123, 33-1125and33-
         ScftedutoAB:                                                                       any applicable statutory limit

        Brief
                            Hous h Id co s                   $400. 00
        description:                                                                    S3$ 400. 00                                 A. R.S. § 33-1123
        Line from                                                                       Q 100%offairmarketvalue,upto
        ScheduleAS:                                                                         any applteabte statutory limit
        Brief
        descnption:                                                                     tZi$
        Line from                                                                       Q 100%offairmarketvalue, upID
        ScheduteWB:                                                                         any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160.375?
        (Subjecttoadjustmenton4701/19andevery3 yearsafterthatforcasesfitedonorafterthedateofadjustment)
        BfNo
        a Vies.Didyouacquirethepropertycoveredby(heexempBonwithin1,215daysbeforeyou(Bedthiscase?
                  No
            a Yes


Official Form 106C
                                                            Schedule C: -TheProperty YouClaim as Exempt                                                  page t of,


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    Debtorl           TODDRANDOLPHRILEY
                     FiBtltame          MkfName     UBlNair                                      Case number (iftomm)



      Part 2.        Additional Page

          Briefdescription ofthe property andiine
          on Schedule A/Bthatlists this property          St S"^f<he
                                                          portion you own
                                                                                 AmountoflheexemPtio"^"<dain.             Specific laws that altow exemption

                                                          Copythe vakje from     Checkonly oneboxforeachexemption
                                                          Schedule/VB
         Bhef
         description:            CHECKING                            200.00 0$               200.00                      A.R.S. § 33-
         Line from               17.1                                            Q 100%offairmarketvalue,upto            1126(A)(9)
         ScheduleA/B:                                                                anyapplicablestatutorylimit
        Brief
        description:             JEWERY                              400.00      Q[$        400.00                      Ariz. Rev. Stat. /\nn. § § 33-
         Line from                                                               Q 100%of(airmarketvalue.upto           1123, 33-1125and33-
        ScheduleAB;              17.3
                                                                                    any applicable statutory limit

        Brief
        description:                                                 400. 00 ^$     400.00                              A.R.S. g 33-1123
        Line from                                                            Q 100%offairmarketvalue,upto
        ScAedufeAB;                                                                 any applicable statutory limit
        Brief
        description:                                                            a$
        Line from                                                               Q 100%affairmarketvalue,upto
        ScheduleAS:                                                                any applicable statutory limit
       Brief
       description:          SECUITf DEPOSIT                        700. 00 sf$    700. 00                              (Ariz. Rev. Stat. §§ 33-1123,
       Line from                                                            Q 100%offan-marketvalue,upto                33-1125 and 33-1127
       ScfteduteAB:
                             22
                                                                                   any applicable statutory limit

       Brief
       description:                                                             a$
       Line from                                                                1-1100%offairmarketvalue, upto
       ScheduleAS:                                                                any applicable stafajtory limit

       Brief
       description:                                                             a$
       Line from                                                                Q 100%offairmarketvalue,upto
       Schwlule A/B:                                                              any apptreabte statutory Hmit
      Brief
      descriptron:                                                             a$
      Linefrom                                                                 Q 100%offairmarketvalue,upto
      ScheduleAS:                                                                 anyapplicablestatutory limit

      Brief
      description:                                                             a$
      Line from                                                                Q 100%offairmarketvalue,upID
      Schedule A/B:                                                               any apptfcabte statutory Bmit

      Brief
      description:                                                             a$
      Line from                                                                Q 100%offairmarketvalue,upto
      ScftedufeAfi:                                                              anyapplicablestatutory limit
     Brief
     description:                                                              a$
     Line from                                                                 1-1100%offairmarketvalue,upto
     Schedule A/B:                                                               any applicable statutory Brrit

     Brief
     description:                                                              a$
     Line from                                                                 Q 100%offairmarketvalue,upto
     Schedule AB:                                                                any applicable statutory limit


Official Form 106C
                                                    Schedule C: The Property You Claim as Exempt                                      page   2-of _

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                                                    Main Document   Page 14 of 46
         Fill^ :^s ^:.;-^:;on;o .je.^, ^ ^^, ;^
         Debtori         TODDRANDOLPHRtLEY
                          F°stN*ln*                    MiAteNamc                  LastName
        Debtor2           DETRAGENNINGR(LEY
        (Spouse.iffUng) RretNme                        MiddeN.mt                 List Name

        UnitedStatesBankruptcyCourtforthe: UsbictofArizona
        Casenumber
        (If known)
                                                                                                                                             Q Checkifthisis an
                                                                                                                                                 amended filing
       Official Form 106D

       sched"tolfccrednore °                                                     v ClaimsSecuredbyProperty                                                  12/15
       ^s:xy^js^s^l^"s°»ss;rs;K5s"«toszi
       additionalpages,writeyounwneindSSe"nw^^^o^> """ out>"umbertheentriel"andattachittothis»onn7on't&
                                                                                                                                                 correct
                                                                                                 On the top of any

   1. Doanycreditorshaveclaimssecuredbyyourproperty?
           §^<s:;^->:^n^n"ton-~"---'--«. "..- »^»^. ».
   Part 1: List All Secured Claims

   &£^!^^KC^T^ac':Tlltortasmor6thanonesecur^^i"'. ^thecfeditorseDarateIv cohmnA...                                                    coh"r'nB             <^»"c
    ?sr^Ts^Ks ^o^. ^^^^r^mIt ^^^                                         ^mounl°fdam                                                  ^iu !. trfco"atera' u=re«
                                                                         Donotdeductthe                                               thatsupportsthis portion
  -^
  2.1                                                                   ~    -----"-                             valueofcollateral,   claim
       ^HALtE NGEFINAN-                                     "-""e^Prope^atsecures^in.                        :   s       7, 000. 00 ,       4. 000.   00/3. 000.   00
           1004W. TAFTAVE#100
        Number          Street


                                                           Asofttiedateyoufile,theclaimis:Checkallthatapply
         ORANGE
        City
                                        CA92855 gSSl
                                       slate 2IpcodB       a Disputed
   Whoowesthedebt?Checkone-
                                                           Natureoflien. Checkallthatapply.
   Q Debtor1 only
   Q Debtor2only                                           STAnagreementyoumade(suchasmortgageorsecured
                                                               cartoan)
   Sf Debtor1 andDebtor2 only                              a Statutory lien(suchastexlien,mechanic's lien)
   Q Atteastonecfthedebtorsandanother                          Judgment lien from a lawsuit
   Q Checkifthisclaimrelatesto a                          Q Other(includinga righttooffset)
         community debt
   Date debtwasincurred 10/01/0201
                                                          Last4 digits ofaccount number
Ll2|
       Creditors Name
                                                          Describetheproperty thatsecures theclaim:

       Number       Street


                                                         Asofthedateyoufite.thedamnis:Checkallthatapply
                                                         1-1 Contingent
    City
                                                         Q Unliquidated
                                      State ZIPCode
                                                         Q Disputed
  Whoowesthedebt?Checkon&
                                                         Natureoflien. Checkallthatapply.
  1-1 Debtor1 only
  Q Debtor2 only                                           Ar1lt^raemerty°umade(suchasmortgageorsecured
                                                             car loan)
  Q Debtor1 andDebtor2 only                              Q Statutoiylien(suchastexlien,mechanic'slien)
  a Atleastoneofthedebtorsandanother                     Q Judgmenttenfroma lawsuit
  Q Checkifthisclaimrelatesto a                          Q Other(includinga ri^httooffset)
       communitydebt
 Datedebtwasincurred
  atedebtwasincurred                                    Last4digteofaccountnumber
   AddthedollarvalueofyourentriesinColumnA onthispage.WritethatnuinberhereT                                          MSQSLQO
Official Form 106D
                                                ScheduleD:CreditorsWhoHaveClaimsSecuredbyProperty                                            page 1 of.

               Case 2:19-bk-04021-MCW                         Doc 12 Filed 04/05/19 Entered 04/08/19 09:52:40                                    Desc
                                                              Main Document   Page 15 of 46
       Fill in this [nformstiort to identify yoiii case.

       Dgyor1          TODDRANDOLPHRILEY
                         RistName                MMdteName

       Debtors           DETRA GENNING RtLEY
       (Spouse. »filing) RretName                >Ud<teName

       United States Bankruptcy Courtfor the: District of Arizona
                                                                                                                                                  Q Checkifthisis an
       Case number
       (If known)                                                                                                                                    amendedfiling

  Official Form 106E/F
  Schedule E/F: Creditors                                             o Have Unsecured Claims                                                                 12/15
  Be as complete andaccurateas possible. Use Part 1 for creditors with PRIORITVclaims and Part 2 for creditors with NONPRIORITTclaims.
  List the other party to any executory contracts or unexpired teases that could result in a claim. Also list executory contracts on Schedule
  AS; Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
  creditorswithpartially secured claims thatare listed in ScheduleD: Creditors WhoHaveClaims Securedby Property. If morespace is
  needed, copythePartyou need, fill it out, numbertheentries in theboxeson the left- AttachtheContinuation Pageto thispage.Onthetop of
  any additional pages, write your name and case number (if known).

   Pa rt 1:        List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
         Q No. Goto Part2.
         63Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured daim, list the creditor separately for each chum. For
        eachclam listed, identitywhattfpe ofclaim it is. Ifa daim hasboth priorityand nonpriorityamounts, list thatclaim here andshowboth priorityand
        nonpriority amounts. As much as possible, fist the claims in alphabetical order according to the creditor's name. Ifyou have more than two priority
        unsecured daims, fill out the Continuatron Page of Part 1 . If more than one creditor holds a particularclaim, listthe other creditors in Part3.
        (For an explanation of each type of claim, see the instructrons for this form in the instruction booklet.)
                                                                                                                                  Total claim   Priority   Nmipriority
                                                                                                                                                amount     amount

|2.1
           STATEOF MICHIGAN/CHILDSUPP                               Last 4 digits of account number                           S     9-977-00 S 9.977.00 $_         JLfi&
          Priority CredBoi's Name
           P.O.BOX30478                                             Whenwasthedebtincurred?            07/01,2002
          Number           Street


                                                                    As ofthe date you file, the claim is: Checkallthatapply
           LANSING                          Ml   48909
          CHy                                    ZIP Code
                                                                    Q Contingent
                                                                    Q Unliquidated
          Who incurred the debt? Checkone
                                                                    a Disputed
          yi Debtor1 only
          a Debtor2 only                                            Type of PRIORITCunsecured claim:
          Q Debtor 1 andDebtor2 only                                    Domestic support obligations
          Q At least one ofthe debtors and another
                                                                    Q Taxes andcertain otherdebtsyouowethe government
          Q Check ifthis claim is for a community debt              Q Claimsfordeath or personal injurywhileyouwere
                                                                        intoxicated
          Is the daim subject to effect?
          eiNo                                                      Q Other. Specify
          a Yes
EJ        Priority Creditor's Name
                                                                    Last 4 digits of account number _      _ _ _ $
                                                                    When was the debt incurred?

                                                                    As of the dateyou file, the daim is: Checkall thatapply
                                                                    Q Contingent
          Cily                         Slate     ZIPCode            Q Unliquidated
          Who incurred the debt? Check one.                         Q Disputed
          Q Debtor1 only
                                                                    Type of PRIORITfunsecured claim:
          a Debtor2 only
                                                                    Q Domestic support obligattons
          Q Debtor 1 andDebtor2 only
          Q Atleastone ofthe debtorsandanother                      Q Taxes andcertain otherdebtsyouowethegovernment
                                                                    Q aaims fordeath or personal ir^urywhileyouwere
          Q Check if this claim is for a community debt                 intoxicated
          Is (he claim subject to offset?                           i-1 Other. Specify
          a ^to
          a Yes

Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of_

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   Debtori        TODDRANDOLPHRtLEY                                                                         Case number (irtnmm
                   RistNaaw       UiddleName             LastHame


   Part 1:        Your PWOIUTYUnsecured Claims - Continuation Page

   Afterlistinganyentries onthis page, numberthem beginningwith 2.3, followed by 2.4, andso forth.                                 Total claim   Priority    Nonpriority
                                                                                                                                                 amount      amount

 a                                                                                                                                $.
                                                                     Last 4 digits of account number
        PriorityCredfew's Name

                                                                     When was the debt incurred?

                                                                     As of thedate you fite, the daim is: Checkallthatapply.
                                                                     Q Contingent
        City                           State       ZIP Code          a Unlk}t»datsd
                                                                     a Disputed
        Who incurred the debt? Check one-

        !_1 Debtor1 only                                             Type of PRIORmrunsecured claim:
        a Debtor2 only
                                                                     Q Domesticsupportobligations
        Q Debtor1 andDebtor2 only
        Q Atleastoneofthedebtorsandanother
                                                                     a Taxesandcertainotherdebtsyouowethegovernment
                                                                     a ClaimsfordeathorpersonalIr^iaywhiteyouwere
                                                                         intaxJcated
        Q Checkifthisclaimisfora communitydebt
                                                                    Q Other. Specify
       Is theclaim subjectto offset?
       a^to
       a Yes


                                                                    Last4 digitsof accountnumber _ _
       Priority Creditor's Name

                                                                    When was the debt incurred?
       Number          Street

                                                                    As of the date you file, the claim is: Check all that apply
                                                                    a Contingent
       City                           State    ZIPCode              01 Unl-iquidated
                                                                    01 Disputed
       Who incurred the debt? Check one.
       D Debtor1 only                                               Type of PRIORITTunsecured claim:
       Q Debtor2 only
                                                                    Q Domestic support obligations
       a Debtorland Debtor2 only
       Q At least one ofthe debtore and another
                                                                    Q TaxesandcertainothercleNsyouowethegovernment
                                                                    Q Claimsfordeathorpersonalinjurywhileyouwere
                                                                        intoxicated
       L3 Checkifthisclaimisfora communitydebt
                                                                    a Other. Specify
       Is theclaim subjectto offset?
       a No
       a Yes
D
                                                                    Last 4 digits of account number
       Priortly Credtot's Name

                                                                    When was Ac debt incurred?

                                                                    As of the dateyou file, the claim is: Checkall thatapply-
                                                                    a Contingent
      City                                     ZIPCode              Q Unliqindated
                                                                    Q Disputed
      Who incurred the debt? Check one

      Q      Debtor1 only                                           Type of PRIORITYunsecured claim:
      Q      Debtor2 only
                                                                    Q Domestic support obligations
      Q      Debtor 1 and Debtor2 only
      Q      At leastoneofthe debtore andanother
                                                                    a TaxesandcertaincSnerdebtsyouowethegovernment
                                                                    Q ClaimsfordeathorpersonalirjurywhHeyouwere
                                                                       intoxicated
      Q Check ifthis damn is for a community debt
                                                                    Q Other. Specify
      Is the claim subject to offset?
      Q No
      a Yes

Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page_of_


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  Debtor 1       TODD RANDOLPHRILEY                                                                  Case number (»known)


  Pa rt 2.      List All of Your NONPRTOR1TV Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims againstyou?
      Q No.Youhavenothingtoreportinthispart.Submitthisformtothecourtwithyourotherschedules.
      S3Yes
  4. List all of your nonpriorrty unsecured claims in the alphabetical order of the creditorwho holds eachclaim. If a creditor has morethan one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      includedin Part1. tf morethan one creditorholdsa particularclaim, listthe othercreditorsin Part3.lf you havemorethanthree nonpriorityunsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                     Total claim

        US DEPTOF EDUCATION                                                     Last4 digitsofaccount number 3                   3   0 2
        NonpriorityCreditors Name                                                                                                                s          7,054.00
        P.O.BOX105081                                                           Whenwasthedebtincurred?                09/20/2017
       Number          Street

       ATLANTA                                      GA         30348
       City                                        State      ZIPCode           As of thedate you fife, the daim is: Checkall thatapply.
                                                                                Q Contingent
       Who incurred (he debt? Checkone.                                         U Unliquidated
       a Debtor1 only                                                           a Disputed
       8i Debtor2on!y
       Q Debtor1 andDebtor2 only                                                Type of NONPRIORITYunsecured claim:
       Q At least one of the debtors and another                                Of Studentloans
       Q Checkif thisclaim isibra communitydebt                                 a CMigattons arisingout ofa separation agreement ordwoice
                                                                                    that you did not report as priority claims
       Is the daim subject to offset?                                           Q Debtsto pensionorprofit-sharingplans, andothersfrnBarctebts
       0 No                                                                     a Other. Specify
       a Yes

^ I TICORICOTEAYUDA                                                             Last4 digitsofaccountnumber 8 6 2 8                                           499. 00
       Nonpriority Creditor's Name                                              Whenwasthedebtincurred? 03/01/2019
       5433 WEST GLENDALE
       Number          Street

       GLENDALE                                    AZ          85301            As of the date you file, the claim is: Check a»thatapply.
       City                                        State      ZIPCode
                                                                                0 Contingent
       Who incurred the debt? Check one.                                        Q Unlkjudated
       t3 Debtor1 only                                                          Q Disputed
       Q Debtor2 only
                                                                                Type of NONPRIORITY unsecured claim:
       a Debtor 1 andDebtor2 only
       Q At leastonetrfUiedebtorsandanother                                     Q Student loans
                                                                                Q (Xiiigations arisingoutofa sepaatton agreement ordivorce
       Q Check ifthis claim is tor a community debt                                 thatyou <id not report as priority claims
       Is the claim subjectto offset?                                           Q Debtsto pension orprofit-sharing plans, andothersimilardebts
       Cl No                                                                    ^ Other.Specify LOAN-
       a Yes
       DEPTOF EDUCATION                                                         Last 4 digits of account number
                                                                                                                                                           2, 108.00
       NonpiiortyCreditors Name
                                                                                Whenwasthedebtincurred?                03/21/2005
       61 FORSTTH SW #19T40
       Number         Street

       ATLANTA                                     GA          30303
                                                                                As of the date you fite, the claim is: Checkatithatapply
      Ctty                                         State      ZIPCode

      Who incurred the debt? Check one.
                                                                                Q Contingent
                                                                                LI Unikiuidated
       ^ Debtor1 only                                                           Q Disputed
       Q Debtor2 only
       Q Debtor1 andDebtor2 only                                                Type of NONPRIORITYunsecured claim:
       Q At teastone ofthedebtorsandanother
                                                                                6<TStudentloans
       Q Checkifthisclaim is fora communitydebt                                 Q Obligations arisingout ofa separatton agreement ordivorce
                                                                                   that you dd not reportas priority claims
      Is the claim subjectto offset?
                                                                                Q Debtsto pension orprofit-sharing plans, andothersimitardebts
      or No
                                                                                Q Other. Specify
      a Yes


Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                  page_of_


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  Debtor1        TODDRANDOLPHRILEY                                                               Case number (»Known)
                  RretName           MiddcHame       LastNams



  Part 2:       Your NONPRIORITy Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginningwith 4.4, followed by 4.5, andso forth.                                            Total claim


14.4
        COX COMMUNICATIONS                                                     Last4 digits ofaccountnumber _ _ _ _                              s    563.00
       Nonpriortty Creditor's Name
                                                                               Whenwasthedebtincurred? 05/01/2016
        6205 Peachfree Dunwoody Rd.,
       Number          Street
                                                                               As of the date you file, the daim is: Check all that apply
       Atlanta                                     GA            30328
       City                                       State         ZIPCode        1-1 Contingent
                                                                               a Unliquidated
       Who incurred the debt? Check one.                                       0 Disputed
       y[ Debtor1 only
       Q Debtor 2 only                                                         Type of NONPRIORiTVunsecuredclaim:
       a Debtor1 andDebtor2 only                                               1-1 Student loans
       Q At leastone ofthedebtorsandanother
                                                                               Q Obligations arisingoutcSa separatbn agreement or divopse that
                                                                                   you did not report as priorityclaims
       Q Check if this claim is for a community debt
                                                                               Q Debtsto pension orpraffl-sharing plans, andother similardebts
       ts the daim subject to offset?                                          5tf Other.Specfly CABLE
       Sf No
       a Yes


4.5
       ARMED FORCES BANK                                                       Last 4 digits of account number                                         29.00
       Nonpriortty Creditai's Name
                                                                              Whenwas the debtincurred?              05/01/2016
       P.O.BOX3400
       Number          Street
                                                                              As of the dateyou file, the daim is: Checkallthatapply.
       FORT LEAVENWORTH                            KS            66027
       City                                       State         ZIP Code       Q Contingent
                                                                               Q Unliquidated
       Whoincurred the debt? Checkone.                                         Q Disputed
       £-1 Debtor1 only
       1-1 Debtor2 onty                                                       Type of NONPRIORnYunsecured claim:
       yi Debtor1 andDebtor2 only                                              Q Student loans
       Q At teast one ofthe debtors and another
                                                                               Q Obligations arisingout tf a separation agreement ordworcethat
                                                                                  you dkJ not report as priorityclaims
       Q Checkif thisclaimis fora communitydebt
                                                                              Q Debtsto pension or profit-sharing plans, andothersimilar debts
       Is the claim subject to offset?                                         5^ Other. Specify C. C.
       6^ No
       a Yes

s                                                                                                                                                $ 3,844.00
                                                                              Last 4 digits of account number _ _
       DIAMONDRESORTS
       Nonpriority Creditoi's Name
                                                                              Whenwasthe debtincurred?              10/01/2017
       8415 SOUTHPARKCIR#150
       Number          Street
                                                                              As of the dateyou file, the claim is: Checkallthatapply-
       ORLANDO                                    FL             32819
       City                                       State         ZIPCode       Q Contingent
                                                                              Q Unliqudated
       Who incurred the debt? Checkone.                                       Q Disputed
       Q Debtor1 only
       Q Debtor2 only                                                         Type of NONPRIORITyunsecuredclaim:
       y[ Debtor1 andDebtor2 only                                             Q Studentloans
       Q At leastoneofthedebtorsandanother
                                                                              d Obligations arisingoutofa separation agreement OTdivorce that
                                                                                  you did not report as priorityclaims
       Q Check if this claim is for a community debt
                                                                              [-I Debtsto pensionorprofit-sharingplans,andottersimilardebts
       Is the claim subjectto offset?                                         Sf Other Specify VACATIONCLUB
       Bffto
       a Yes




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                          page_ of_


       Case 2:19-bk-04021-MCW                             Doc 12 Filed 04/05/19 Entered 04/08/19 09:52:40                                    Desc
                                                          Main Document   Page 19 of 46
  Debtor1         TODDRANDOLPHRILEY                                                                  Case number <fknown
                   FlratHane         NkMteNam*          LaslHane



   Parf 2;       Tow NONPRIORITT Unsecured Claims - ConUnBaUon Page


  After listing any entries on this page, number them beginning with 4. 4, followed by 4.5, and so forth.                                                Total daim


 4.7
        PRESTOAUTOLOANS                                                           Last4 digitsofaccount number                                       s      572. 00
        NonpriontyCreditor'sName
                                                                                  Whenwasthe debtincurred?                01/01/2016
        2641 WEST INIANSCHOOL RD
        Number          Street

        PHX                                           az             85017        As of the date you Hie, the claim is: Check all that apply.
        City                                         State         ZIPCode        0 Contingent
                                                                                  a Unliquidated
        Who incurred the debt? Check one.
                                                                                  Q Disputed
       a Debtor 1 only
       Q Debtor2 only                                                            Type of NONPRIORITVunsecured claim:
       y[ Debtor 1 andDebtor2 only                                               Q Studentloans
        Q At least one of the debtois and another
                                                                                 Q Obligations arisingoutofa separationagreement ordworcethat
        Q Check if this claim is for a community debt                                 you dkl not report as priority claims
                                                                                 Q Debtsto pension orprofit-sharing plans, andothersimitardebts
       Is the daim subject to offset?                                            Sf Other.Specify loan
       ^ No
       a Yes


 ^                                                                                                                                                  $10, 116.
        WESTLAKEFINANCIALSERV                                                    Last 4 digits of account number
       Nonpltority Creditors Name
                                                                                 Whenwasthedebtincurred?                  08/14/2016
        4751 WtLSHIRE BLVD
       Number          Street

        LOSANGELES                                   ca             90010        As of the date you file, the daim is: Check an at apply.
       City                                         State          ZIPCode       Q Contingent
                                                                                 a Unliquidated
       Who incurred the debt? Checkone                                           Q Disputed
       yf Debtor1 only
       Q Debtor2 only                                                            Type of NONPRIORITYunsecured claim:
       Q Debtor 1 andDebtor2 on!y                                                Q Studentloans
       Q At least one of the debtors and another
                                                                                 Q Obligations arisingoutofa separatton agreement ordivorce that
                                                                                     you did not report as priority claims
       Q Check if this claim is fora community debt
                                                                                 Q Debtsto pension or profit-sharing plans, andothersimitardebts
       Is the claim subjectto offset?                                            Bf Other.SpecHy auto loan
       BfNo
       Ores

                                                                                                                                                    s 1,28&.00
       DEPTOF ED/NAVIENT                                                         Last4 digitsof accountnumber _ _
       Nonpriority Creditor's Name
                                                                                 Whenwas thedebtincurred?                05/09/2007
       P.O.BOX9635
       Number          Street
                                                                                 As of the date you file, the daim is: Check all that apply.
       VWLKESBARRE                                  pa              18773
       City                                         State          ZIPCode       Q Contingent
                                                                                 a UnlK|tBdated
       Who incurred the debt? Check one.                                         d Disputed
       yS Debtor1 only
       a Debtor2 only                                                            Type ofNONPRIORITYunsecured claim:
       i_l Debtor 1 andDebtor2 only                                              Bf Studentloans
       Q At leastoneofthedebtorsandanother
                                                                                 Q Obligationsarisingoutofa separationagreementordivorcethat
       Q Check if this claim is for a community debt                                 you <fid not report as priority claims
                                                                                 Q Debtsto pensionorprofit-sharing ptens, andother similardebts
       Is the daim subjectto offset?                                             Q Other. Specify
       3f No
       a res



Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                           page _ of.


       Case 2:19-bk-04021-MCW                                Doc 12 Filed 04/05/19 Entered 04/08/19 09:52:40                                      Desc
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   Debtori         TODDRANDOLPHRILEY                                                                 Case number w
                    FmflNrn*



   Part 2:        YearNONPWOWTTUnsecured Clainw- Conttnuatioa Page


   After listingany entries onthis page, numberthem beginningwith4.4, followedby 4.5, andso forth.                                                     Totedcfcrim


  5.0
         THE CORE INSTITUTE                                                       Last 4 digits of account number
                                                                                                                                                   $       845. 00
         Nonpnonty Creditor's Name

          18444 N. 25th Ave. Suite 320                                            Whenwasthedebtincurred? 11/15/2016
         Number         Street

          Phoenbc                                     az          85023           As of the date you file, the claim is: Check all that apply.
         CHy                                         State       ZIPCode          Q Contingent
                                                                                  Q Unliquidated
         Who incurred the debt? Checkone
                                                                                  a Disputed
         Q Debtor 1 only
         I^f Debtor2 only                                                         Type of NONPRIORITYunsecured daim:
         1-1 Debtor 1 andDebtor2 only                                             Q Student loans
         Q At least one ofthe debtors and another
                                                                                  Q Obfigationsarisingoutofa separattonagreeffentor(fivoreethat
         Q Checkifthisclaimisfora communitydebt                                       you did not report as priority claims
                                                                                  Q_ Debtstopensionorprofit-sharingplans,andothersimilardebts
         Is the claim subject to offset?                                          Bf other,specify medical
         at No
        a Yes

 5.1
         BANNERDELWEBB                                                            Last 4 digits of account number                                  $      300.00
        Honpnonty Credtor's Name

         14502 W Meeker Blvd,                                                    Whenwasthedebtincurred?                 10/19/2015
        Number          Street

                                                                 85375           As of the date you file, fire claim is: Check aftthatappty.
         Sun CityWest                                az
        City                                        State       ZIPCode           a Contingent
                                                                                  Q Unliquidated
        Who incurred the debt? Checkone.
                                                                                 Q Disputed
        Q Debtor1 only
        ^Debtor 2 on(y                                                           Type.of NONPRIORITCunsecured clahn:
        Q Debtor1~andDebtor2 only                                                Ul Studentloans
        a At (east one of the debtois and another
                                                                                 Q Oblgatfonsariangoutrfa separationagreementor(Svoroethat
        Q Checkif this claim is fora community debt                                  you did not report as priority claims
                                                                                 Q Defcteto pensionorprdit-sharii^ plans, andothersimilardebts
        Is the claim subject to offset?                                          5^ other,specify medical
        SfNo
        a Yes

                                                                                                                                                   $ 1,207.00
        BANNER UNIVMED CTR PHX                                                   Last 4 digits of account number
        Nonpriority Creditors Name

        1111 EMcDoweURd                                                          Whenwasthedebt incurred?               11^20/2014
        Number         Street
                                                                                 As of the date you fite, the daim is: Check all that apply
        Phoenbt                                     az           85006
        City                                        State       ZIPCode          Q Contingent
                                                                                 Q Unliquidated
        Who incurred the debt? Checkone.
                                                                                 Q Disputed
        Q Debtor 1 only
        I? Debtor2 only                                                          Type ofNONPRIORITVunsecured claim:
        Q Debtor1 andDebtor2 only                                                Q Studentloans
        Q At teast one ofthe debtors and another
                                                                                 Q Obligationsarisingoutofa separationagr^mentordivorcettet
        Q Checkifthisdaimisfora communitydebt                                        you did not report as priority claims
                                                                                 Q DebtstopenstonorproTt-sharirgplans,andottersimilardetts
        Is the claim subjectto offset?                                           S? otter, specify medical
        0 No
        a Yes



Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page_of_


         Case 2:19-bk-04021-MCW                              Doc 12 Filed 04/05/19 Entered 04/08/19 09:52:40                                     Desc
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   Debtor1         TODD RANDOLPH RILEY                                                                Case number (iftomro)
                     FiratNaro*          MxUcNamc           LastHame



   Part 2:        Your NONPRIORITVU-cured Claim*- ContinuAtiou Page


   After listingany entries onthis page, numberthem beginningwith 4.4, foltowedby4.5, andso forth.                                                    Total daim

  5.3
          PEDIATRIX MEDICAL GROUP                                                  Last4 digitsofaccountnumber                                         1,444. 00
         Nonpffortty Creditor's Nama

          1301 Concord Terrace
                                                                                   Whenwasthedebtincurred?                    08/29/2018
         Number           Street

          Sunrise                                      FL                33323     As of the date you file, the daim is: Check all that apply
         Cfly                                        State              ZIPCode    Q Contingent
                                                                                   Q Unliquidated
         Who incurred the debt? Check one.
                                                                                   Q Disputed
         Q Debtor 1 only
         (? Debtor2 only                                                           Type of NONPRIORITVunsecured claim:
         Q Debtor1 andDebtor2 only                                                 1-1 Studentloans
         Q At least one ofthe debtors and another
                                                                                   Q Obfigatfonsarisingoutofa separationagreementor<fimroethat
         Q Checkifthisclaimisfora communitydebt                                        you did not report as priority claims
                                                                                   Q Debtstopensionorprofit-sharingptens,andathersimilardetrts
         Is the dafm subject to offset?                                            Bf OtherSpecnv MEDICAL
         at No
         a Yes


 5.4
         EMERGENCYPROFESSIONALSER                                                  Last4 digitsofaccount number                                   $      392.00
         NonpriorityCiwaD r's     Name


         1300 N 12th St,                                                           Whenwasthe debtincurred?               06/03/2016
        Number           Street

         Phoenbc                                     AZ                  85006     As ofthedateyoufite, the claimis:Checkaltthatapply
        City                                        State              ZIPCode     Q Contingent
                                                                                   1-1 Unliquidated
        Who incurred the debt? Checkone.
                                                                                   Q Disputed
        Q Debtor1 only
        fij? Debtor2 only                                                          Type of NONPRIORtTyunsecured daim:
        Q Debtor1 andDebtor2 only                                                  a Studentloans
        01 At least one ofthe debtors and another
                                                                                   Q Obligatunsarisingoutrfa separationagreement ordworoethat
        U Check ifthis claim is fora community debt                                   you did not report as priority claims
                                                                                   Q Debtstopenstonorprofit-sharingplans,andothersimilardebts
        Is the claim subject to effect?                                            Sf Other.Specify MEDICAL
        a No
        a Yes

                                                                                                                                                        850.00
        SPRINT                                                                    Last4 digitsofaccountnumber 8                  6   2 5
        NonpriorityCredtors Name
                                                                                  When was the debt incurred?
        P.O.BOX 4191
        Number          Street
        CAROL STREAM                                 IL                 60197     As ofthedateyou fite, theclaimis: Checkallthatapply.
        City                                        Stats              ZIP Code   Q Contingent
                                                                                  Q Unlkjindated
        Who incurred the debt? Check one.
                                                                                  Q Disputed
        yf Debtor1 only
        Q Debtor2 only                                                            Type of NONPRIORITY unsecured claim:
        Q Debtor1 andDebtor2 only                                                 Q Student loans
        Q At least one of ttiedebtore and another
                                                                                  Q Obligationsarisingouto(a sepacatkmagreementordiwiucsthat
        Q Checkifthisclaimisfora communitydebt                                        you dkj not report as priority claims
                                                                                  Q Debtstopensionorprofit-sharingplans,andothersimilardebts
        Is the claim subject to offset?                                           6l Other.Specify CELL
        S3 No
        a Yes



OfficialForm 106E/F                                       Schedule E/F: Creditors WhoHave Unsecured Claims                                        page_of_


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  Debtor 1       TODD RANDOLPH RILEY                                                            Case number w
                  HntNam*      MitWeMame           taatNami



  Part3;         U«tOtherstoBeltoUlie<IJ»bortaDebtTliatYoa                     readyUsted

  S. Use this pageonly if you have others to be notified about your bankruptcy, for a debtthat you already listed in Parts 1 or 2. For
     example, if a collection agency is fayingto collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you havemore thanonecreditorforanyof thedebts that you listed in Parts 1 or 2, Gstthe
     additional creditors her®.If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

         NATIONALRECOVERIES                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

         14735 Hwy 65,                                                   Line 4. 1   of (Checfc one): Q Part 1: Creditors with Priority Unsecured Claims
        Number        Street
                                                                                                           Part2: Creditorswith Nonpriority Unsecured Claims


        Ham Lake                            MN           55304
                                                                         Last4 digitsofaccountnumber_3 3              0 2
        City                                                  ZIPCode

        AFNI                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Name


        P.O.BOX3427                                                      Line 4.4 of (Checkone): Q Part1:CreditorswithPriorityUnsecuredClaims
        Number
                                                                                                      8f Part2:CreditorswithNonpriorityUnsecured
                                                                         Claims


        BLOOMINGTON                         IL          61702            Last4 digits of account number.
       City                                State              ZIP Code


          HEALTHCARECOLLECTIONS                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

        2224 W. NOTHERN AVE #D-100                                       Line 5.2 of (Check one): Q Part 1:Creditors with Priority Unsecured Claims
       Number        Street
                                                                                                      ^ Part2:CreditorswithNonpriority Unsecured
                                                                         Claims

        PHX                                 AZ           85021           Last4 digits of account number_ _ _
       City                                State              ZIPCode

        1C SYSTEMS                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name


        P.O.BOX64378                                                     Line 5. 3 of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
       Number        Street
                                                                                                      Of Part2:CreditorswithNonpriorityUnsecured
                                                                         Claims

        ST. PAUL                            MN          55164            Last 4 digits of accountnumber
       City                                State              ZIPCode

        BUREAUOF MEDECON                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

         326 E Coronado Rd # 205                                         Line 5. 4 of (Check one): Q Part 1:Creditors with Priority Unsecured Ciaims
       Number        Street
                                                                                                   1-1 Part2:CreditorswithNonpriorityUreecured
                                                                         Claims

        Phoenbc                            AZ           85004            Last 4 digits of account number
       City                                State              ZIP Code


                                                                         On whichentry in Part 1 or Part 2 did you list the original creditor?

                                                                         Line_ of (Checkone): Q Part1:CreditorswithPriorityUnsecuredClaims
       Number        Street                                                                           a Part 2: Creditors with Nonpriority Unsecured
                                                                         Claims

                                                                         Last 4 digits of account number
       City                                                   ZIPCode

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
       Name


                                                                         Line_of (Check one): D Part 1: Creditors with Priority Unsecured Oaims
                                                                                              Q Part 2: Creditors writh Nonpriority Unsecured
                                                                         Claims


       City                                                   ZIP Code   Last4 digits of account number _


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page_of_


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Debtor1        TODD RANDOLPH RILEY                                                         Case number y
               RrstNme .         Namt 1



 Part 4:      Add the               tor Each Type of Unsecured Claim


6. Total the amounts of certam types of unsecured claims. This infomiation is Tor statistical reporting purposes only. 28 U. S.C. § 159.
   Add the amounts for eachtype of unsecured claim.




                                                                                     Total claim



Total claims
                6a. Domestic support obligations                             6a.
                                                                                     s               9, 977.00
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                               6b.     s                     0.00

                6c. Claims for death or personal injury white you were
                   intoxicated                                               6c.
                                                                                     $                     0.00
                6d. Other. Add all other priority unsecured claims.
                   VWte that amount here.                                    6d.   +$                      0. 00


                6e. Total. Add lines 6a through 6d.                          6e.
                                                                                                     9.977.00


                                                                                     Total claim


                6f. Student loans                                            6f.                    10,451.00
Total claims                                                                         $
from Part 2
                6g. Obligationsarising out of a separationagreement
                    or divorce that you did not report as priority
                   claims                                                    6g.      $_
                                                                                                           0.00
                6h. Debts to pension or profit-sharingplans, and other
                   simitar debts                                             6h.                           0.00

                6i. Other. Add all other nonpriorityunsecured claims.
                   Write that amount here.                                   (B. +                  20,661.00


                6j. Total. Add lines6fthrough6i.                                                    31,322. 00




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                  page_ of_

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   Fiii in this ;nfor"i3tion to identify ycur case:

   Debtor          TODDRANDOLPHRILEY
                    FilstNane                     MiddeNamB

   Oebior2          DETRA GENNING RILEY
   (Spouse Iffiling) FtetNmK.                     UiiidteNuiw

   United States Bankruptcy Court for the: District ofArizona

   Case number
   (It Known)                                                                                                                                    a Checkifthis is an
                                                                                                                                                     amendedfiling


 Offfoial Form 106G
 Schedule G: Executory Contracts and line pired Leases                                                                                                        W15
 Beascompleteandaccurateaspossible.Iftwomarriedpeoplearefilingtogether,bothareequallyresponsfcteforsupplyingcorrect
 information. Ifmore space is needed, copy theadditional page, fill it out, number theentries, andattach it to this page. On thetop of any
 additional pages, write your name end case number (if known).


  1. Do you have any executory contracts or unexpired teases?
        Q No.Checkthisboxandfitethisformwiththecourtwithyourotherschedules. Youhavenothingelsetoreportonthisform.
        S31Yes.   Fill in all of the infoFmatron betow even if the contracts   or   teases are feted   on   Scftedute MB: Pmpwty (Official Form 1Q6A/B).


  2. Listseparatelyeachpersonor companywithwhomyouhavethecontractor lease.Thenstatewhateachcontractor teaseisfor(for
     example, rent. vehicletease,cell phone).Seetheinstructionsforthisform intheinstructionbookletformoreexamplesofexecutorycontractsand
       unexpiredteases.



       Person or company with whom you have the contract or tease                                       Statewhat the contract or tease is far


 21 PROGRESSIVELEASING                                                                          RENTAL FURN
        Name
        256 W. DATA DR
        Number       Street
        DRAPER                         UT              84020
       City                               State       ZIP Code


        E&G REALESTATE                                                                          RENTAL HOME
       Name

        2150 E. HIGHLAND #103
       Number        Street
        PHOENIX                        AZ              85016
       City                               State       ZIP Code
 2.3
       Name


       Number        Street


       City                              State        ZIP Code
2.4
       Name


       NLimber       Street


       City                              State        ZIP Code

2.5
       Name



       Number        Street


       City                              State       ZIP Code


Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of.


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   Ffl? \r~' t^'s nfQ^^at. c-'^ to t^e^;. fv rC. L^r c^ss-


   Debtor1           TODD RANDOLPH R1LEY
                         RrslName                      NDdeNam                   LastName

   Debtor2               DETRAGENNING RILEY
   (Spouse, tfifng) FirstNane                          MkidteN.rm                List Name


   UnitedSlatesBanknptcyCourtforthe: DistrictofArizona

   Case number
   (ffknoun)
                                                                                                                                          (-I Check ifthis is an
                                                                                                                                             amended filing

 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                               12/15
 Codebtorsarepeopleorentitieswhoareateolicrt>tetoranydebtsyoumayhave.Beascompleteandaccurateaspossible.Iftwomarriedpeople
 arefilingtogether,bothareequallyresponsibleforsupplyingcorrectinformation.Ifmorespaceisneeded,copytheAcWitkmalPage,mFifout
 andnumber theentries inthe boxes on the ten. Attach theAdditional Pageto this page. Onthetop ofanyAdditional Pages, write your naneand
 case number (if known). Answer every question.

   1. Do you have any codebtore? (Ifyou are filing a joint case, do not list either spouse as a codebtor.)
       0 No
       a Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and femtories include
       Arizona,California,Idaho,Louisiana,Nevada,NewMexico,PuertoRico,Texas,Wfashington,andWisconsin.)
       Q No. Go to line 3.
       53 Yes. Didyourspouse, former spouse, ortegalequivalent livewithyouatthetime?
           Q No
           &tfYes.Inwhtehcommunitystateorterritorydidyoulive?AZ . RHinthenameandcunentaddressofthatpereon.
                  DETRAGENNtNG RILEY
                  Name of your spouse, former spouse, or legal equivalent


                  Number             Street


                  City                                          State                        ZIPCode

  3. In Column 1, list all of your codebtors. Donot include yourspouse as a codebtor if your spouse is filing with you. List theperson
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F(Official Form 106E/F), or Schedule G (Official Fonn 1<»G). UseSchedule D,
       Schedule EfF, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                         Column 2: Thecreditorto whomyou owethedebt
                                                                                                        Check all schedules that apply:
 3.1
         Name
                                                                                                        Q ScheduleD, line
                                                                                                        a ScheduleE/F,line
         Number
                                                                                                        a ScheduleG. Rne.
        City                                                                                  ZIPCode
 3.2
        Name
                                                                                                        a ScheduleD, line.
                                                                                                        a Schedule EV, fine
        Number              Street
                                                                                                        a ScheduleG, line.
        CHy                                                                                  ZIP Code

3.3
        Name
                                                                                                        a ScheduleD, line
                                                                                                        a ScheduleE/F,line
        Number
                                                                                                        a ScheduleG, line
        City                                                        State                    ZIPCode


Official Form 106H                                                          Schedule H: YourCodebtors                                        page 1 of.


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   Fiji in mis informaTicn to iGsntif-, you:- csse-

   Debtor1           TODDRANDOLPHRILEY
                     Fmt Name              Ulcwie Name

   Debtors           DETRAGENNING RILEY
   (Spouse, Iffltng) RistNane              Width Name

   UnitedStatesBankruptcyCourtforthe: District ofArizona

   Case number
                                                                                                  Check if this is:
   (If known)
                                                                                                  i-IAnamendedfiling
                                                                                                  Q A supplement showingpostpetition chapter 13
                                                                                                      income as of the following date:
 Official Form 1061                                                                                   MM / DO/ r/YY

 Schedule I: o                                                                                                                               12/15
 Beascompleteandaccurateaspossible.IftwomarriedPeoplearefilingtogether(Debtor1 andDebtor2).bothareequallyresponsiblefor
 £upj}!y"1g_corre?"?ft>"r'ati0"'lf you^rem?^.i?dan.1?."otfilil?gJoil'ltly'and yourspouse is livingwithyou, include information Aout yourspouse.
 lf.yo"?re^ep?f:at^;l.al'!dyo"ISIMUssisnotfilingwithyou,donotincludeinfonnatkmaboutyourspouse.Ifmorespaceisneeded,attach a
 separatesheettothisform.Onthetopofanyadditionalpages,writeyournameandcasenumber(JTknown).Answereveryquestion.

   Part 1;        Describe Employment


  1. Fill in your employment
     information.                                                     Debtor 1                                   Debtor 2 or non-filing spouse
     Ifyou have more than onejob,
     attacha separate page with
     information about additional       Employment status                                                             Employed
     emptoyere.                                                     Q Notemptoyed                                Q Notemployed
     Include part-time, seasonal, or
     self-emptoyedwork.
                                       Occupation                  COURIER                                     UNITEDHEALTHCARE
     Occupation may include student
     or homemaker, if it applies.
                                       Employer's name             DIONTE'S PIXELS                             1 E Washin on St Suite 700W

                                       Employer's address          1642 McCULLOCH BLVD N.
                                                                   Number Street                               Number    Street
                                                                  #2020


                                                                   LAKEHAVASU AZ                 86403         PHOENIX              AZ      85016
                                                                   City             State   ZIPCode           City                 State ZIPCode
                                       How long employed there?


  Pa rt 2:       Giro Details About Monthly Income

    EstimatemonthlyincomeasofthedateyouFifethisform.tfyouhavenothingtoreportforanyline,write$0inthespace.
    spouse unless youare separated.
    Ifyou oryour non-filing spouse have more thanone emptoyer. combine the information forall emptoyere forthatpereon onthe lines
    below. Ifyou need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1       For Debtor2 or
                                                                                                               non-filing spouse
 2. Listmonthly grosswages,salary, and commissions (beforeall payroll
     deductwns). Ifnotpaklmonthly, cateutate whatthemonthlywagemnrid be.           2.         2, 000. 00         S 2500. 00
 3. Estimate and list monthly overtime pay.                                        3. +$                      +$

 4. Calculate gross income. Add tine 2 + line 3.                                   4.       $ 2,000.00           $    2,500.00


Official Form 1061                                           Schedule I: Your Income



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  Debtori          TODD RANDOLPH RILEY                                                                                               Case number {iiavim
                                         M«M»Nam«



                                                                                                                                    For Debtor 1            For Debtor 2 or
                                                                                                                                                           Jlwt-fflinfiLsiwuse^
     Copy line 4 here...............................................................................................   ^ 4.         $   2, 000. 00            $     2. 500.00

  5. Listall payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                  5a.
      Sb. Mandatory contra>uti<»ts for retirement plans                                                                  5b.
      5c. Voluntary contributions for retirement plans                                                                   5c.                                  $
      5d. Required repayments of retirement fund loans                                                                  5d.                                   $-
      5e. Insurance                                                                                                     5e.                                   $       240.00
      5f. Domestic support obligations                                                                                  5f.               339. 00             $

      5g. Union dues                                                                                                    5g. $                                 $

      5h. Other deductions. Specify:                                                                                    5h. +$                             +$
   6. Add thepayroll deAicUons.Addlmes5a+5b+5c+5d+5e+a+5g+5h. 6. $                                                                        339.00              $_     240.00

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.     $       1,661.00                   2,260. 00

  8. List all other income regulariy received:
      8a. Net incomefrom rental property andfrom operatinga business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary businessexpenses, and the total
                                                                                                                                $                            $
            monttriy net income.                                                                                        8a.
      Sb. Interest and dividends                                                                                        Sb.     $                            $

     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Includealimony, spousal support, chfkl support, maintenance, divorce
                                                                                                                                $
         settlement, and property settlement.                                 8c.
     8d. Unemployment compensation                                                                                      8d.     $-
      8e- Social Security                                                                                               8e.

      8f. Othergovernmentassistancethat you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you recehre. such as food stamps (benefits under Vne Supplemental
            Nutritfon Assistance Program) or housing subsidies.
            Specify:                                                                   8f.                                      $


     8g. Pension or retirement income                                                                                   eg.     $-
     8h. Other monthly income. Specify:                                                                                 8h.    +$                          +$_
  9. Addall other income. Add lines8a+8b+8c+8d+8e+8f+8g+ eh.                                                            9.      $            0.00            $-         0.00
 10.Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                                  $- 1,661. 00         +       $     2, 260. 00 =              3,921.00

 ii Stateall other regularcontributions to theexpensesthat you list in ScheduleJ.
    Includecontributionsfroman unmarriedpartner, membersofyourhousehold,yourdependents,your roommates,and other
    friends or relatives.

    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                                                                  11. +

12. Add the amount in the last column of line 10 to the amount in line 11. The result isthe combined monthly income.
    Write that amount on the Summary of You-Assets andLiaUBffes and Certain Statistical Inlwmatton, VSit applies                                                              12.          3,921.00
                                                                                                                                                                                      Combined
                                                                                                                                                                                      monthly income
 13.Do youexpectan increaseor decreasewithinthe yearafter you fite this form?
     0 No.
     Q Yes. Explain:

Official Form 1061                                                                        Schedule I: Your Income                                                                       page 2



      Case 2:19-bk-04021-MCW                                            Doc 12 Filed 04/05/19 Entered 04/08/19 09:52:40                                                               Desc
                                                                        Main Document   Page 28 of 46
     Fill in this information to identify ycur cass.

     Debtor1         TODD RANDOLPH RILEY
                         Hist Name            MiddteName                                           Check if this is:
     Debtor2             DETRAGENNINGRILEY
     (SpOUSO, INiling)   FlntName             MiditeName                                           Q Anamendedfiling
     UnitedStatesBankruptcyCourtforthe: District ofArizona
                                                                                                   [-] A supplement showing postpeStion chapter 13
                                                                                                       expenses as of the following date:
     Case number
     (if known)                                                                                        MM / DD/ YYW



   Official Form 106J
                                     j£                    enses                                                                                   ims
   Beascomplete andaccurateaspossible. Iftwomarried people arefilingtogether, bolhareequally responsible forsupplying correct
   information.Ifmorespaceisneeded,attachanothersheettothisform.Onthetopofanyadditionalpages,writeyournameandcasenumber
   (if known). Answer every question.

   Pa rt 1          Describe Your HouwihoW

  i. Is this a joint case?

     Q No. Go to line 2.
     '631Yes.DoesDebtor2 liveina separatehousehold?
                S3 No
                Q Yes. Debtor2 mustfiteOffictalForm 106J-2, ExpensesforSeparateHouseholdofDebtor2.
  2, Do you have dependents?               a No                                Dependent's relationship to             Dependent's      Does dependant live
     Do not list Debtor 1 and              Of Yes.FBIoutthisinformationfor     Debtor lor Debtor 2                                      with you?
     Debtor2.                                  eachdependent.
     Do not state the dependents'                                              SON                                     24                    No
     names.                                                                                                                             a Yes
                                                                               SON                                                     ad No
                                                                                                                                       a yes
                                                                               so                                                      UNO
                                                                                                                                       81 Yes
                                                                                                                                       a No
                                                                                                                                       Qyes
                                                                                                                                       Q No
                                                                                                                                       a Yes
 3, Do your expenses include
    expenses of people other than
                                           fit No
    yourself and your dependents?          a Yes

 Part

  Estimateyourexpensesasofyourbankruptcyfilingdateunlessyouareusingthisformasa supplementina Chapter13casetoreport
  expensesas ofa dateafterthebankruptcyis filed.Ifthis is a supplementalSc/redufeJ, checktheboxatthetop oftheformandBitinthe
  applicable date.

  Includeexpensespaidforwithnon-cashgovernmentassistanceif you knowthe value of
  such assistance and have included it on Schedutel: Your Income (Official Form 1061.)                                      Your expenses
  4. Therental or homeownershipexpensesforyourresidence.Includefirstmortgagepaymentsand
     anyrent forthe ground ortot.                                                                                4 $                   1,047.00
     If not included in line 4:
     Aa. Real estate taxes                                                                                       43     $

     4b      Property, homeowner's, or renter's insurance                                                        4b.    $

     4c. Home maintenance, repair,andupkeep expenses                                                             4c     $

     4d. Homeowner'sassociatunorcondomiraumdues                                                                  4d     $


Official Form 106J                                           Schedule J: Your Expenses                                                        page 1



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   Debtor 1          TODD RANDOLPH RILEY                                                  Case number <»»n<aim)




                                                                                                                                 Your expenses


     5 Additionalmortgagepaymentsfor your residence, suchashomeequityloans                                        5.

   6    Utilities:
        6a. Electricity, heat, natural gas                                                                        6a.        $                   300. 00
        6b. Water, sewer, garbage collection                                                                      8b.        $

        6c. Telephone, cell phone. Internet, satellite, and cable services                                        6c         $

        6d. Other. Specify:                                                                                       6d.        $

  7. Food and housekeeping supplies                                                             7                            $                   400.00
  8. Childcare and children's education costs                                                                     8.         $                   320. 00
  9- Clothing, laundry, and dry cleaning                                                         g                           $                   200. 00
 10. Personal care products and services                                                                          l o.       $                    25.00
 11. Medical and dental expenses                                                                                  11         $                   100.00
 12- Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.
                                                                                                                                                 600. 00

 13. Entertainment, clubs, recreation, newspapers,magazines,and books                                             13.                            250. 00
 14. Charitable contributions and religious donations                                                             14.

 15. Insurance.
        Do not include insurance deducted from your pay or included in fines 4 or 20.

        l5a- Life insurance                                                                                   -153
        l5b. Health insurance                                                                                 l5b
       l5c. Vehicle insurance                                                                                 l5c.                               587.00
       l5d. Otherinsurance.Specify:RENTERS                                                                    l5cj                                20. QO

16     Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                               16.

 17 Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                        l7a.       $                   367. 00
       l7b Car payments for Vehicle 2                                                                         l7b.       $

       l7c. Other. Specify:                                                                                   l7c        $

       l7d. Other. Specify:                                                                                   Vd.        $

18. Your payments ofalimony, maintenance,andsupport that you did not report as deductedfrom
       your pay on line 5, Schedule I, Your Income (Official Form 1061).                                          18.

19. Otherpayments youmake to support otherswhodo not live with you.
       Specify:                                                                                                   19

20 Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1-. Your Income.

       20a. Mortgageson other property                                                                       2aa

       20b. Real estate taxes                                                                                20b.
       20c. Property, homeowner's, or renter's insurance                                                     20c.        $

       20d. Maintenance, repair, and upkeep expenses                                                         20d.        $

       20e. Homeowner'sassociationor condominiumdues                                                         20e.        $




Official Form 106J                                          Schedule J: Your Expenses                                                             page 2



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  Debtor1         TODDRANDOLPHRILEY                                                             Case number wiumin)
                   Hist Name       MiddeNane       Last Name




 21. Other. Specify:                                                                                                  21.   +$


 22-    Calculate your monthly expenses.

        22a. Addlines4 through 21.                                                                                22a. $         4,216.00
        22b. Copy line 22 (monthly expensesfor Debtor 2), if any, from Official Form 106J-2                       22b. $
        22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c. $         4 216. 00


 23. Calculate your monthly net income.
       23a.   Copy line 12 (your combined monthly income) from Schedute /.
                                                                                                                                 3,&21.QO
                                                                                                                  23a.
       23b. Copy your monthly expensesfrom line 22c above.                                                        23b. _$        4,216.00
       23c.   Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                         $    -295.00
                                                                                                                  23c.




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expert to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modificatun to the terms of your mortgage?

       S3 No.
       Q Yes.       Explainhere:




Official Form 106J                                             ScheduleJ: Your Expenses                                             page3



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Debtori          TODDRANDOLPHRtLEY
                  RretNane                            MidchNamc              Last Name

Debtor2           DETRAGENNINGR1LEY
(Spouse,ifWng) FistNmx                                                      last Name


United States Bankruptcy Gout for the: District of Arizona
Case number
(Ifknown)
                                                                                                                                         Q Check ifthis is an
                                                                                                                                            amended filing


 Official Form 106Dec
            "      -      ^?.
                          -I'l'l .             ». I                                                          or?s                    s               12/15

 Iftwomarriedpeoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrectinformation.
 YoumustRlethisfonnwheneveryoufilebankiuptcyschedulesoramendedschedules.Makinga falsestatement,concealingproperty,or
 obtaining moneyorproperty byfraud inconnection witha bankruptcy casecanresult infinesupto (250, 000,orimprisonment forupto20
 years, orboth. 18U.S.C. §§ 152, 1341, 1S19, and3571.



                 Sign


     Didyou pay oragree to pay someone who is NOT an attorney to help you fit! out bankruptcy forms?
     a No
     BfYes. Nameofpersonsteven malkin# 81725 . AttachBantoupteyPeffiior)Prqoerer'sNotice,Deduatton,and
                                                                                                      Signature(OfficialForm 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
    that they are t                  orrect.




                                                                                   I
      Sig       re of Debto                                                    Signatureof Debtor 2


     Date
            MM/        DD /
                              VS                                               Date '04/OS/30(^
                                                                                         MM/ DO /   YYYY




Official Form 106Dec                                                DeclarationAbout an IndividualDebtor's Schedutes




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   =iii ^ \\~. s :n?c;ma:icn io !e!sr;;^fy ^cu;' cass'


   Debtor 1          TODD RANDOLPH RILEY
                     RratNime                 MkMeName

   Debtor2           DETRAGENNINGRILEY
   (Spousft, Idling) RiaNaBm

   UnitedStatesBankruptcyCourtforthe: DistrictofArizona

   Case number
   (If known)                                                                                                                    Q Check ifthis is an
                                                                                                                                    amendedfiling



 Official Form 107
 Statement of Financial                                  ffairs for Individuals Filing for                     ankruptey                              04/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information, tf mowspaceIs needed,attacha separatesheetto this fonn. On thetop ofany additionalpages,writeyour nameandcase
 number (if known). Answerevery question.


   Part 1:      Give Details About Yaw Warital Status and Where You Lived Before
                            ^

   1. What is your current marital status?

       S6Married
       a Not married

   2 During the last 3 years, have you lived anywhere other than where you live now?
       ^ No
       0 Yes. Ust all of the places you Kved in the last 3 years. Do not include where you live now.

              Debtor 1:                                        Dates Debtor 1      Debtor 2:                                         Dates Debtor 2
                                                               lived there                                                           lived there

                                                                                   Q Same asDebtor 1                                Q Sameas OeStor 1

               12035 WEST DAHILADR                             F^ 08/01/2012                                                            From
              Number            Street                                                 Number   Sheet
                                                               To     02/01/2016                                                        To


               ELMIRAGE                   A2       85335
              City                         State ZIP Code                              City                 State   ZIP Code


                                                                                   a   Same as Debtor 1                             a   Same as Debtor 1


                                                               From                                                                     From
              Number            Street                                                 Number   Street
                                                               To                                                                       To




              City                         State ZIP Code                              City                 Sate      ZIP Code


   3. Withinthe last8 years, did you ever Ih/ewith a spouseor legalequivalent in a community property state or territory? (Communityfmpwty
      states andtemtories include Arizona, California, Idaho, Louisiana, Nevada, NewMexico, Puerto Rteo, Texas, Vteshington. and Wisconsin.)
       a No
       0 Yes. Make sure you fill out Schedule H: Your Codebfors (Official Form 106H).



   Pa rt 2: Explain the Sources of Your Income
Official Form 107                              Statement of FinancialAffairs for IndwidualsFiling for Bankruptcy                             page 1




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Debtor 1      TODDRANDOLPHRtLEY                                                                       Case number wim»n




 4. Didyou haveany incomefrom employment or from operatinga businessduringthis yearor thetwo previous calendaryears?
      Fill in the total amount of income you recewed from all jobs and all businesses, including part-time activities.
     Ifyou are filing a joint case and you have mcome that you receive together, list it only once under Debtor 1.
      Si No
      a Yes. Fill inthe details.

                                                       Debtor 1                                                Debtor?

                                                       Sources of income              Gross income             Sources <rf income             Gross income

                                                       Check all that appty.          (beforedeductionsand     Checkall that apply.           (before deductions and
                                                                                      exclusions)                                             exclusions)


           From January 1 of current year until
                                                       Q Wages,commissions,                                        Wages, commissions,
                                                           bonuses, Up8                                            bonuses, tips
           the dateyou filed for bankruptcy:
                                                           Operating a business                                a Operatinga business

                                                       Q Wages,commissions,                                    Q Wages,commissions,
           For last calendar year:
                                                           bonuses, Bps                                            bonuseSi tips
           (January 1 to December 31,                      Operating a business                                    Operatinga business


                                                       Q Wages,commissions,                                    Q Wages,commissions,
           For the calendar year before that:
                                                           bonuses, tips                                           bonuses, tips
           (Januaiy 1 to December31,                   Q Operatinga business                                       Operating a business




 5 Didyou receiveany other income during this yearor the two previous calendaryears?
   Includeincome reganllessofwhetherthat incomeistaxable. Examplesofotherincomearealimony;child support; SocialSecurity,
   unemptoyment, andother public benefitpayments; pensions;rentalincome;interest;dividends;moneycollectedfrom lawsuits;royatfes;and
   gambling and tottery winnings. Ifyou are filing a joint case and you have income thatyou received together, list it only once under Debtor 1.
     List each source and the gross income (rom each source separately. Do not include income that you listed in line 4.

     at No
     Q Yes. Rll inthe details.
                                                       Debtor 1                                                 Debtor 2

                                                       Sources of income              Gross income from         Sources of income         Gross inconrfrom
                                                       Describe betow.                each source               Describe betow.           each source
                                                                                      (before deductions and                                  (before deductions and
                                                                                      exclusions)                                             exclusions)



           From January 1 of current year until                                   $-                                                      $
           the dateyou fifed for bankruptcy:                                      $                                                       $-
                                                                                  $                                                       $



                                                                                  $                                                       $
           For last calendar year:
                                                                                  $                                                       $
           (January 1 to December 31,
                                                                                  $                                                       $-


           For the calendaryear before that:                                      $                                                       $

           (January 1 to December31.                                              $                                                       $
                                        yyW
                                                                                  $                                                       $




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 2




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Debtori      TODD RANDOLPH RILEY                                                                   Case number yrknown)




  Part 3:    List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     Q No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consuffia-debte are defined in 11 U.S.C. §1&1{8)as
              .
                  incurred by an individual primarily for a personal, family, or household purpose."
              Duringthe 90days beforeyoufiled forbankruptcy, did you payanycreditora total of$6,425*or more?

              Q No. Goto line 7.
              Q Yes. List below each creditor to whom you paid a total of $6, 425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      childsupportandalimony.Also,do not include paymentsto an attorney forthis bankruptcycase.
              * Subjectto adjustmenton 4/01/19andevery3 yearsafterthatfor casesfiled on orafterthedateofadjustment

          Yes. Debtor 1 or Debtor2 or both have primarily consumer debts.
              Duringthe 90 daysbeforeyouflled forbankruptcy, didyou payanycreditora total of$600or more?
              Qi No.Gotoline7.
              Q Yes. List betow each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                     Dates of      Total amount paid          Amount you still owe    Wasthis paymentfor...
                                                                     payment



                                                                                                                                      Q Mortgage
                      Creditors Name
                                                                                                                                      a Car
                      Number     Street
                                                                                                                                      Q Creditcard
                                                                                                                                      Q Loanrepayment
                                                                                                                                      Q Suppliersorvendors
                                                                                                                                      Q Other
                      City


                                                                                                                                      Q Mortgage
                      CreditOf's Name
                                                                                                                                      a Car
                                                                                                                                      Q Creditcart
                      Number     Street

                                                                                                                                      Q Loanrepayment
                                                                                                                                      Q Suppliersorvendors
                                                                                                                                      Q Other
                      City                  State       ZIPCode




                                                                                                                                      Q Mortgage
                      Creditai-s Name
                                                                                                                                      1-1Car
                      Number     Street
                                                                                                                                      Q Creditcard
                                                                                                                                      Q Loanrepayment
                                                                                                                                      Q Suppliers orvendors
                                                                                                                                      Qother_
                      City                              ZIPCode




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3




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Debtor 1         TODD RANDOLPH RILEY                                                          Case number (ibwn)




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insidersinclude your relatives; any general partners; relatives ofany general partners; partnerships of whichyou are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, indudmg one fora businessyou operate as a sote proprietor. 11 U.S.C. § 101. Indudepayments (or domestic support obligations,
     such as child support and alimony.

     Si No
     Q Yes. Listall paymentsto aninsider.
                                                                Dates of      Total amount      Amount you still   Reason Tor this payment
                                                                payment       paid              owe



           Insider's Name




           Number     Street




           City                        State   ZIPCode



           Insider's Name



           Number     Street




           City                        State   ZIP Code



 8- Within 1 year before you fited for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

       No
     Q Yes. Listall payments that benefited an insider.
                                                              Dates of        Total amount      Amount you stilt   Reason for this payment
                                                              payment         paid              owe                Includecreditorname

           InsidersName




           Number    Street




           City                        State   ZIPCode




           Insider's Name




           Number    Street




           Qtf                         State   ZIP code




OfRciat Form 107                          Statement of FinancialAffairs for individuals Filing for Bankruptcy




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Debtor1      TODD RANDOLPH RILEY                                                                            Case number vtnmm)
              FmstNiinie            MkiifaNaroe             List Nans




   Part 4:   Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claimsactions, divorces, collection suits, paternity acttons, support or custody modifications,
     and contract disputes.

     a No
     0 Yes.Fillinthedetails.
                                                                     Nature of the case                Court or agency                          States of the case


                                                                  GARNISHMENT
          Case title   US DEPT OF ED.                                                                Court Name
                                                                                                                                                1-1 Pending
                                                                                                                                                Q Onappeal
                                                                                                     Number    Street                           S3 Concluded
          Case number
                                                                                                     cny                  State   ZIPCode



          Casetitle                                                                                  Court Name
                                                                                                                                                Q Pending
                                                                                                                                                Q Onappeal
                                                                                                     Number    Street                          Q Concluded
          Case number
                                                                                                     City                 State   ZIP Code



  10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized. Of levied?
     Check all that apply and fill in the details below.

     Q& No. Goto line 11.
     Q Yes. Rll in the information betow.

                                                                              Describethe property                                           Value of the property




              CreditorsName


               Number      Street                                             Explainwhathappened

                                                                              Q    Propertywasrepossessed-
                                                                              Q    Propertywasforeclosed.
                                                                              a    Propertywasgarnished.
              City                                State ZIPCode               Q    Propertywasattached,seized,orlevied.
                                                                              Describethe property                                 Date       Valueof the properti




              Creditors Name




              Number       Street
                                                                              Explainwhat happened

                                                                              Q Property was repossessed.
                                                                              Q Propertywasforeclosed.
                                                                              Q Propertywasgarnished.
              City                                State   ZIP Code
                                                                              Q Propertywasattached,seized.orlevied.


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Debtor1          TODD RANDOLPH RILEY                                                                Case number (iitmwni
                 RretName        Middteftune




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment becauseyou owed a debt?
     ei No
     Q Yes. Fill in the details.
                                                             Describethe action the creditor took                          Date action      Amount
                                                                                                                           was taken

          Craditoi's Name




          Number    Street




          City                           state ZIPcode       Last 4 digits of account number: XXXX-      _     _ _


 12. Within 1 year before you fited for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     St No
     a Yes

 Part 5:         List Certain Gifts and Contributions


 13 WthinZ years before you fited for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     0 No
     Q Yes. Fill in the details foreach gift.

           Gffls with a total value of more than $600        Describe the gifts                                            Dates you gave      Value
           per person                                                                                                      thegifts



          Person to Whom You Gave the Gift




          Number    Street




          City                           Slate   ZIPCode


          Person's relationsNp to you


          GiHs with a total vahieof more than $800           Describethegifts                                              Dates you gave    Value
          per person                                                                                                       the gifts



          Peison to Whom You Gave the Gift




          Number    Street




          City                           Slate   ZIPCode


          Person's relationship to you



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Debtor1          TODD RANDOLPH RILEY                                                                     Case number (ftnown)




  14.Within2 years beforeyou fitedfor bankruptcy, didyougiveany giftsor contributionswith a total value of more man$600to anycharity?
     el No
     Q Yes. Fill inthe details (breach gift or contribution.

             Gifts or contributions to charities             Describewhatyou contributed                                         Bate you         Value
             that total more than $600                                                                                           contributed




                                                                                                                                                  $
          Charity's Name


                                                                                                                                                  $-


          Number       Street




          City           State    ZIP Code




  Pa rt 6:           List Certain Losses


 IS. Within1 yearbeforeyoufiledfor bankruptcy or sinceyou filedfor bankruptcy, didyou tose anythingbecauseoftheft,fire, other
     disaster, or gambling?

     Bl No
     a Yes. Fill inthe details.

             Describe the property you tost and              Describe any Insurance coverage for the toss                        Dateof your      Valueof property
             how the loss occurred                                                                                               loss             lost
                                                             Indude the amount that insurance has paid. List pending insurance
                                                             claims on tine 33 of Schedule ft/B: Property.




 Part 7:         Us* Certain Payments or Transfers

 16.Within1 year beforeyou filedfor bankruptcy, didyou or anyoneelse acting on your behalfpay or transferanyproperty to anyone
    you consultedaboutseeking bankruptcyor preparinga bankruptcy petition?
    Includeanyattorneys, bankruptcypetitionpreparers, or creditcounselingagenciesforservteesrequired inyourbankruptcy.
     a No
     (2 Yes. Fill inthe details.
                                                             Description and value of any property transferred                   Datepayment or   Amount of payment
             STEVENMALKINJ?81725                                                                                                 transfer was
                                                                                                                                 matte
             PersonWhoWasPak)
             536 EASTDUNLAP#5                               $200 DOLLARS
             Number
                                                                                                                                 03/20/2019                200. 00


          PHX                        AZ      85020
             Citif                   State   ZIPCode

             STEVENMALKIN@YAHOO.COM

             PeisonWho Madethe Payment if NotYou



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Debtor1           TODD RANDOLPH RILEY                                                              Case number {iknown'i




                                                         Description and value of any property transferred                 Datepaymantor        Amount of
                                                                                                                           transfer was made    payment


           PeisonWhoWasPaid


           Number    Street




          City                     State    ZIP Code




          Emai orwebsits address



          PeisonWhoMadethe Payment. f NotYou


 17. Within 1 year before you fited for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promisedto help you dealw'rthyour creditois or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

          No
     a Yes. Frit in the detaUs.
                                                         Description and value of any property transferred                 Datepayment or      Amount of payment
                                                                                                                           transfer was
                                                                                                                           made
           PeisonWhoWasPaM



           Number Street




           City                     State   ZIP Code


 18.Within2 years beforeyoufitedfor bankruptcy, didyousell, trade, or otherwisetransferany property to anyone, otherthanproperty
    transferred in the ordinary course of your business or financial affairs?
     Includebothoutrighttransfersandtransfers madeassecurity (suchasthe grantingofa securityinterestor mortgageon your property).
     Donotincludegifts andtransfersthatyou have alreadylisted onthisstatement.
     at No
     Q Yes. FiU in the details.
                                                         Descriptionandvalueofproperty             Describeanypropertyor payments recehred        Datetransfer
                                                         transferred                               or debts paid in exchange                      was made

          Person Who Recehred Transfer



          Number     Street




          Oty                      State    ZIP Code


          Person's relationship to you



          Person Who Received Transfer



          Number     Street




          City                     State    ZIPCode

          Person'sretetmnshipto you

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Debtori          TODDRANDOLPHRILEY                                                                       Case number w known)
                 . First Name     MMdeName




  19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settted trust or similar device of which you
     are a beneficiary?fThese are often called asset-protection devices.)

     S3 No
     a Yes. Ril in the details.

                                                                Description and value of the propertytransferred                                          Datatoancfar
                                                                                                                                                          was made



          Name of trust




  Part S:                                  setal

  20. Within 1 year before you fited for bankruptcy, were any financial accounts or instalments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     ^ No
     Q Yes. Fill in the details.
                                                                Last4 digits of account number      Type of account or          Dateaccountwas         Lastbalancabaton
                                                                                                    instrument                  ctosed, sold, moved,   ctosing or transfer
                                                                                                                                or transferred


           Name of Financial Institution
                                                                xxxx-_                              Q Checking
           Number        Street
                                                                                                    Q Savings
                                                                                                    Q Moneymarket
                                                                                                    Q Brokerage
           cny                         State       ZIPCode                                          a0 ther_


                                                                xxxx-_ _ _ _                        Q Checking
           Name of Financial Institution
                                                                                                   Q Savings
           Number Street                                                                           Q Moneymarket
                                                                                                   Q Brokerage
                                                                                                   Qothe._
           cay                         State       ZIP Code


 21. Do you now have, or did you havewithin 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     a No
     Q Yes. Fill inthe details.
                                                                Who else had access to if?                     Describe the contents                          Do you still
                                                                                                                                                              have it?

                                                                                                                                                              a No
           Name of Financial Institution
                                                               Name
                                                                                                                                                              a Yes

          Number        Street                                 Number   Street



                                                               City       State     ZIP Code
          City                        State        ZIPCode


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 Debtor 1         TODD RANDOLPHRtLEY                                                                          Case number <»known)




  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     etNo
     Q Yes. Fill in the details.
                                                              Who else has or had access to it?                    Describe the contents          Doyoustill
                                                                                                                                                  haveit?

                                                                                                                                                  a No
             Nameof Storage Facility                                                                                                              a Yes
             Number      Street                               Number     Street



                                                              CSyState zip Code

             Ctty                      State    ZIPCode


  PartS:                          nopmrty V«i NOWor Coatort tor »on»
  23. Do you hold or control any property that someone else owns? Includeany property you borrowed from, are storing for,
      or hold in trust for someone.
      satNo
      Q Yes. Fill in the details.
                                                             Where is the property?                                Describe the property     Value


             Owner*® Name


                                                            Number     Street
             Number      Street




                                                            City                           State     aPCode
             City                      State    ZIP Code


  Part 10;                                                         lUteranathm

  For the purpose of Part 10, the following definitionsapply: .
     Environmental lawmeans any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardousor toxicsubstances, wastes, or material into theair, land, soil, surfacewater, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as definedunderany environmental law, whetheryou now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
     Hazardousmaterial means anythingan environmenta) taw defines as a hazardouswaste, hazardoussubstance, toxic
     substance, hazardousmaterial, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedingsthat you know about, regardless of when they occurred.

  24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental taw?

     fi^ No
     Q Yes. Fill in the details.
                                                            Governmental unit                           Environmental law, if you know It   Date of notice



            Nameofsite                                      Govcmnwntd unit



            Number    Street                                Number     Street



                                                            cay                   State   ZIP Code




            cny                     State      ZIPCode



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   2S.Haveyou notifiedany governmental unit ofany releaseof hazardousmaterial?
       6^ No
       a Yes. Fill inthe details.
                                                           Governmental unit                        Environmental law. Ifyou know K                    Dateof notice



              Name of site                                Governmental unit


              Number       Street                         Number   Street




                                                          cay                 State ZIPCode

             City                    State    ZIPCode


   26.Haveyoubeena party inanyjudicialoradministrativeproceedingunderanyenvironmental law?Includesettlements andorders.
      GJNO
      Q Yes. Fill inthedetails.
                                                           Court or agency                              Nature of the case                             Status of the
                                                                                                                                                       case

            Case title
                                                           Court Name                                                                                  Q Pending
                                                                                                                                                       Q Onappeal
                                                           Number Street                                                                               a Concluded
            Case number
                                                           cny                   State   ZIP Code



  Part 11s                                  utYe                 orCo -®<a

  27.Wthm4 yearsbeforeyoufitedforbankruptcy, didyouowna business or haveanyofthefollowing connections to anybusiness?
            Q A soleproprietor orsetf-emptoyed ina trade, profession, oromeractwity, eitherfull-time orpart-time
            Q A memberofa limitedliabilitycompany(LLC)orlimitedliabilitypartnership (LLP)
          Q A partner in a partnership
         Q Anofficer,director,ormanagingexecutiveofa corporation
         Q Anownerofatleast5%ofthevotingorequitysecuritiesofa corporation
      G2fNo.Noneoftheaboveapplies. Goto Part12.
      Q Yes.Checkall thatapplyaboveandfill inthedetails belowforeachbusiness.
                                                           Describethenatureofthebusiness                            EmployerhtenttTrcaUonnumber
             Business Name                                                                                           Do not include Social Security numbar or mN.

                                                                                                                     EIN:_ _ -.
            Number       Street

                                                          Name of accountant or bookkeeper                           Dates businessexisted


                                                                                                                     From               To
            cay                     State    ZIPCode
                                                          Describe the nature of the business                        Employer Identification number
            Business Name                                                                                            Do not indude Social Security number or WN.

                                                                                                                     EIN: _ _ -
            Number       Street

                                                          Nameofaccountantor bookkeeper                              Dates business existed


                                                                                                                     From               To
            CBy                     State    ZIPCode

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  Debtor1          TODDRANDOLPHRILEY                                                               Case number(/tnam)
                    FirstKama        Nam              Last




                                                             Describe the nature of the business                Employer Idwitification number
                                                                                                                Donot indudeSoccrfSecuritynumberor (TIN.
              Binlnesstteme

                                                                                                                EIN: _ _ -.
             Number      Street
                                                             Name ofaccountant or bookkeeper                    Dates business existed



                                                                                                                From               To
             City                   State   ZIPCode




   2&withi"2 yearsbeforeyoufitedforbanknlptey'didyo"3ivea financialstatemerrttoanyoneaboutyourbusiness?Includeallfinancial
      institutions, creditors, or other parties.

      ^ No
      1-1 Yes. Fill in the details below.
                                                             Date issued



             Name                                            MKUDDfYYYY



             Number     Street




            C By                    State   ZIPCode




  Part 12: Wa

       !.!?^!?a^T .T?."?rs-°"^"? StatementofHnanctalAffiawsandanyattachments, andI declareunderpenalty ofperjurythatthe
       answers aretrue and correct I understand that makinga falsestatement, concealing property, or obtair
       mcon"ectio"with_abankruPtcycasecanresultinfinesupto$250,000.or imprisonmentforupto20years',orboth."
       18U. S.C. §§1 , 1341, 1519, and 3571.




            Sig         ofDebtorl                                          SignatureofDebtor 2


            Oate^ ^^^"t1                                                   DateQ^^Sf^Ql ^
      DidyouattachadditionalpagestoYourStatementofFinancialAffiwsforIndividualsFiHngforBankruptcy (OfficialForm107)?
      5^ No
      a Yes


      Didyoupayoragreetopaysomeonewhoisnotanattorneyto helpyoufill outbankrupteyforms?
      a No
      0Yes. Nameofpe^nSTEVENMALKIN#81725                                                               Atechthe6^n^pe(^P^re^ce,
                                                                                                        Dec/arafibn, and Signature (Official Form 119).




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Fi!l ip, th;s inforfnation :Q t;ienti;y ycu,'- cas. e:

Debtor1               TODD RANDOLPH RILEY
                      Fmt Name                Middle Name            LastName

Debtor2               DETRAGENNINGRILEY
(SpO UW,    »fi«ng)   RntNunis                Miidk-Namr             LastHamr


United States Bankruptcy Court forthe: District of Arizona
Case number                                                                                                                          Q Check ifthis is an
(Iffarown)                                                                                                                                amendedfiling



  Official Form 108
  Statement of ntention or Jidividuals                                                             iling                  Chap er                   12/15
  If you are an individuatfiling under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have teased personal property and the lease has not expired.

 whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
 If two married people are filing together in a joint case, both are equally responsiblefor supplying correct information.
 Both debtors must sign and date the form.
 Be as complete and accurateas possible. ITmore space is needed, attach a separate sheet to this form. On the top of any additionalpages,
 write your name ami case number (if known).

    Part 1;           List Year Creditors Who Have Secured Claims

   1. For any creditors that you feted in Part 1 of Sctiedule D: Creditors Who HaveClaims Securedby Property (Official Fonn 1060), fill in the
           information below.


            Identitythecreditorand the property that is collateral               Whatdo you intend to do with theproperty that   Did you claim the property
                                                                                 secures a debt?                                 as exempt mi Schedule C?

           Creditor's
                           CHALLENGEFINANCIAL                                   81 Surrender the property.                       53 No
           name:
                                                                                Q Retain the property and redeem it              a Yes
           Descriptionof ^Q^Q FQRDEDGE                                          Q Retain the propertyandenterinto a
           property
           securing debt:                                                          Reaffvmation Agreement.
                                                                                Q Retainthepropertyand[explain}:



           S               PROGRESSIVELEASING                                   Q Surrender the property.                        a No
                                                                                Q Retain thepropertyandredeemit.                 safves
           Descnptionof pURNITUE                                                   Retain the property and enter into a
           securing debt:                                                          ReatfsmationAgreement.
                                                                                Q Retainthepropertyand[explain]:


           Creditor's                                                           Q Surrendertheproperty.                          a No
           name:
                                                                                Q Retainthepropertyandredeemit.                  a Yes
           Description of
           property
                                                                                Q Retainthepropertyandenterinto a
       securing debt:                                                              Reaffinnation Agreement.
                                                                                Q Retainthe propertyand[explain]:


       Creditor's                                                               Q Surrendertheproperty.                          a No
       name:
                                                                                Q Retain thepropertyandredeemit.                 a Yes
       Description of
       property
                                                                                Q Retain thepropertyandenterinto a
       securing debt:                                                              ReaffimiattonAgreement.
                                                                                Q Retain thepropertyand[explain]:


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   Debtor 1            TODD RANDOLPH RILEY                                               Case number (tfAnowo)



     Part 2:           List Your Unexpired Personal Property Leases

    Forany unexpired personal property tease that you listed in Schedule G:Executory Contracts andUnexpSrmf Leases(Official Form 106G),
    fill intheinformation below. Donot list real estate teases. Unexpired /easesare teases thatarestill in effect; <heteaseperiod has not yet
    ended. You may assume an unexpired personal property tease ifthetrustee does notassume it 11 U.S.C. § 365<p)(2).
          Describe your unexpired personal property leases                                                        Will the lease INSassumed?
         Lessor's name:
                                                                                                                 a No
         Descriptionof leased
                                                                                                                 a Yes
        property:


         Lessor's name:
                                                                                                                 a No
        Description of teased                                                                                    QYes
        property:


        Lessor's name:
                                                                                                                 a No
        Descriptionof leased                                                                                     a Yes
        property:



        Lessor's name:
                                                                                                                 UNO
                                                                                                                 a Yes
        Description of leased
        property:



        Lessor's name:
                                                                                                                 a No
                                                                                                                 a Yes
       Description of leased
       property:


       Lessor's name:
                                                                                                                 a No
                                                                                                                 0 Yes
       Descriptionof teased
       property:



       Lessor's name:
                                                                                                                 QNO
                                                                                                                 a Yes
       Description ofleased
       property:




   Part 3;         Sign Below



     Underpenaltyofperjury.I declarethat1 ha\/e indicatedmy intentionaboutanypropertyofmyestatethatsecuresa debtandany
     personal prope .              ub}ect to an unexpired tease.


                                                              ^
      Sig      re of        or 1                                   Signatureof Debto

      Date             of                                          Date04 OS ^6\
              MM/ DD / YYYY                                             MM / DO / YYYY



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